Case 19-61688-wlh     Doc 88    Filed 08/30/19 Entered 08/30/19 17:07:47   Desc Main
                               Document      Page 1 of 115




         August 30, 2019
             Case 19-61688-wlh                                 Doc 88               Filed 08/30/19 Entered 08/30/19 17:07:47                                                            Desc Main
                                                                                   Document      Page 2 of 115
 Fill in this information to identify the case:

 Debtor name            Eat Here Brands LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)               19-61688-wlh
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        1,317,139.50

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        1,317,139.50


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        5,871,700.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $            27,600.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        3,321,105.22


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          9,220,405.22




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                          Desc Main
                                                                     Document      Page 3 of 115
 Fill in this information to identify the case:

 Debtor name          Eat Here Brands LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         19-61688-wlh
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                          $517,165.83



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Origin Bank                                            Checking                         7286                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                  $517,165.83
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepaid Insurance to Zurich North America                                                                                     $74,343.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47               Desc Main
                                                                     Document      Page 4 of 115
 Debtor         Eat Here Brands LLC                                                          Case number (If known) 19-61688-wlh
                Name


 9.         Total of Part 2.                                                                                                       $74,343.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.    Babalu, LLC                                                    100       %                                          Unknown




            15.2.    Babalu Memphis #1, LLC                                         100       %                                          Unknown




            15.3.    Babalu Birmingham #1, LLC                                      100       %                                          Unknown




            15.4.    Babalu Knoxville, #1, LLC                                      100       %                                          Unknown




            15.5.    Babalu Lexington, #1, LLC                                      100       %                                                $0.00




            15.6.    Babalu Chapel Hill, #1, LLC                                    100       %                                                $0.00




            15.7.    Babalu Atlanta #1 LLC                                          100       %                                          Unknown




            15.8.    Babalu Memphis #2 LLC                                          100       %                                          Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                Desc Main
                                                                     Document      Page 5 of 115
 Debtor         Eat Here Brands LLC                                                            Case number (If known) 19-61688-wlh
                Name




           15.9.     Babalu Atlanta #2 LLC                                          100           %                                        Unknown



           15.10
           .     Babalu Columbus #1, LLC                                            100           %                                              $0.00



           15.11
           .     Babalu Nashville #1, LLC                                           100           %                                              $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                 $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of       Valuation method used    Current value of
                                                                              debtor's interest       for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office furniture                                                               $5,000.00   Estimated at 20%                     $1,000.00



 40.       Office fixtures
           Office fixtures                                                                $1,000.00   Estimated at 20%                       $200.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $1,200.00
           Add lines 39 through 42. Copy the total to line 86.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                 Desc Main
                                                                     Document      Page 6 of 115
 Debtor         Eat Here Brands LLC                                                           Case number (If known) 19-61688-wlh
                Name



 44.        Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Corporate office
                     9755 Dogwood Road
                     Suite 200
                     Roswell, GA 30075                    Tenant                       Unknown                                              Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47              Desc Main
                                                                     Document      Page 7 of 115
 Debtor         Eat Here Brands LLC                                                          Case number (If known) 19-61688-wlh
                Name



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill - excess of cost over fair value of the
            business acquired in 2012                                                $724,430.67                                     $724,430.67




 66.        Total of Part 10.                                                                                                      $724,430.67
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
             Case 19-61688-wlh                          Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                         Desc Main
                                                                         Document      Page 8 of 115
 Debtor          Eat Here Brands LLC                                                                                 Case number (If known) 19-61688-wlh
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $517,165.83

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $74,343.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,200.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $724,430.67

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,317,139.50            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,317,139.50




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                        Doc 88           Filed 08/30/19 Entered 08/30/19 17:07:47                                   Desc Main
                                                                     Document      Page 9 of 115
 Fill in this information to identify the case:

 Debtor name          Eat Here Brands LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)              19-61688-wlh
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1    ORIGIN BANK                                   Describe debtor's property that is subject to a lien                  $5,871,700.00             $1,400,000.00
        Creditor's Name
        Highland Colony Financial                                                                                    $275,000.00 Paid per Court Order
        Cent                                                                                                         [Docket No. 36]
        1063 Highland Colony
        Parkway
        Ridgeland, MS 39157
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                          No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                            No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                 $5,871,700.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                  Desc Main
                                                                     Document     Page 10 of 115
 Fill in this information to identify the case:

 Debtor name         Eat Here Brands LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)          19-61688-wlh
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00     $0.00
           ALABAMA DEPT OF REVENUE                                   Check all that apply.
           CORPORATE TAX DIVISION                                     Contingent
           BUSINESS PRIVILEGE TAX                                     Unliquidated
           SECTION                                                    Disputed
           Montgomery, AL 36132-7320
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00     $0.00
           MECKLENBURG COUNTY TAX                                    Check all that apply.
           COLLECT                                                    Contingent
           PO BOX 31457                                               Unliquidated
           Charlotte, NC 28231-1457                                   Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                   30834                               Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                             Desc Main
                                                                     Document     Page 11 of 115
 Debtor       Eat Here Brands LLC                                                                             Case number (if known)          19-61688-wlh
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $27,500.00      $12,850.00
           Ned Lidvall                                               Check all that apply.
           1850 Marcia Overlook Drive                                 Contingent
           Cumming, GA 30041                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $100.00    $0.00
           TENNESSEE DEPT OF REVENUE                                 Check all that apply.
           ANDREW JACKSON ST OFFICE                                   Contingent
           BLDG                                                       Unliquidated
           500 DEADERICK ST                                           Disputed
           Nashville, TN 37242-1100
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $104.00
           1821 BITTERS LLC                                                         Contingent
           659 AUBERN AVE NE # 225                                                  Unliquidated
           Atlanta, GA 30312                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $0.00
           24/7 JACKSON LOCKSMITH LLC                                               Contingent
           11 STANFORD CT                                                           Unliquidated
           Jackson, MS 39211                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     NOTICE ONLY
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $10,512.50
           29 SEVEN LLC C/O RETAIL SPC.                                             Contingent
           PO BOX 531247
           Birmingham, AL 35253-1247
                                                                                    Unliquidated
                                                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 12 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          3 OWL INC                                                           Contingent
          135 AUBURN AVENUE                                                   Unliquidated
          NE FLOOR 2                                                          Disputed
          Atlanta, GA 30303
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          7'S CLEANING SERVICE LLC                                            Contingent
          102 AMETHYST                                                        Unliquidated
          Brandon, MS 39047                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          8LINCOLN30                                                          Contingent
          5030 VALLEY STREAM RD                                               Unliquidated
          Charlotte, NC 28209                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          900 SHORT NORTH LLC                                                 Contingent
          3955 MONTGOMERY ROAD                                                Unliquidated
          Cincinnati, OH 45212                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $139.00
          A&B DISTRIBUTORS INC                                                Contingent
          107 RANDOLPH ST NE                                                  Unliquidated
          PO BOX 27130                                                        Disputed
          Knoxville, TN 37927
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,750.00
          ABELARDO RUIZ                                                       Contingent
          875 HUNTERHILL DRIVE                                                Unliquidated
          Roswell, GA 30075                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $300.00
          AC BEVERAGE INC                                                     Contingent
          1993 7 MORELAND PKWY                                                Unliquidated
          Annapolis, MD 21401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 13 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $265.69
          ACKERMAN SECURITY SYSTEMS                                           Contingent
          1346 OAKBROOK DRIVE                                                 Unliquidated
          SUITE 175                                                           Disputed
          Norcross, GA 30093
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ADVANCE SIGN & LIGHTING LLC                                         Contingent
          PO BOX 128                                                          Unliquidated
          Gardendale, AL 35071                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,729.30
          ADVANTAGE LINEN & UNIFORM                                           Contingent
          751 ENTERPRISE DRIVE                                                Unliquidated
          Lexington, KY 40510                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          AFTER WORDS                                                         Contingent
          4010 W BOY SCOUT BLVD                                               Unliquidated
          Tampa, FL 33607                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $76.00
          AIRE MASTER OF CENTRAL ALABAMA                                      Contingent
          PO BOX 43002                                                        Unliquidated
          Birmingham, AL 35243                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $80.00
          AIRE-MASTER OF MID MISSISSIPPI                                      Contingent
          273 LAKE CIRCLE                                                     Unliquidated
          Madison, MS 39110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          AIRGAS NATIONAL CARBONATION                                         Contingent
          PO BOX 602792                                                       Unliquidated
          Charlotte, NC 28260-2792                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 14 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          AJAX MEMPHIS                                                        Contingent
          5020 TUGGLE ROAD                                                    Unliquidated
          Memphis, TN 38118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          AL ROBERTS                                                          Contingent
          2466 SOUTHWOOD RD                                                   Unliquidated
          Jackson, MS 39211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ALABAMA ABC BEVERAGE                                                Contingent
          2911 SEVENTH AVENUE SOUTH                                           Unliquidated
          Birmingham, AL 35233                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ALABAMA CROWN DISTRIBUTING CO                                       Contingent
          1330 CORPORATE WOODS DR.                                            Unliquidated
          Alabaster, AL 35007                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,500.00
          ALAN E. JONES, IRA                                                  Contingent
          2025 SHEFFIELD DRIVE                                                Unliquidated
          Jackson, MS 39211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ALCOHOLIC BEVERAGE CONTROL                                          Contingent
          MISSISSIPPI DEPT OF REVENUE                                         Unliquidated
          PO BOX 540                                                          Disputed
          Madison, MS 39130-0540
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $63.60
          ALE 8 ONE BOTTLING COMPANY                                          Contingent
          25 CAROL ROAD                                                       Unliquidated
          Winchester, KY 40392                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 15 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ALL AMERICAN HEATING & A/C CO                                       Contingent
          8817 WESTGATE PARK DR                                               Unliquidated
          SUITE#108                                                           Disputed
          Raleigh, NC 27617
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ALL GAUGE SHEET METAL INC                                           Contingent
          801 30TH STREET NORTH                                               Unliquidated
          Birmingham, AL 35203                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ALL STATES MALL SERVICES II                                         Contingent
          PO BOX 93717                                                        Unliquidated
          Las Vegas, NV 89193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $873.47
          ALPHAGRAPHICS                                                       Contingent
          788 E BROOKHAVEN CIRCLE                                             Unliquidated
          Memphis, TN 38117                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $102,797.02
          AMERICAN EXPRESS                                                    Contingent
          PO BOX 650448                                                       Unliquidated
          Dallas, TX 75265-0448                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,736.20
          AMERIPRIDE SERVICE INC                                              Contingent
          PO BOX 308                                                          Unliquidated
          Bemidji, MN 56619-0308                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,614.29
          AMERIPRIDE SERVICES INC                                             Contingent
          PO BOX 667                                                          Unliquidated
          Bemidji, MN 56619-0667                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 16 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,049.45
          AMERIPRIDE SERVICES INC                                             Contingent
          PO BOX 1564                                                         Unliquidated
          Bemidji, MN 56619-1564                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,545.27
          AMERIPRIDE SERVICES INC                                             Contingent
          PO BOX 1280                                                         Unliquidated
          Bemidji, MN 56619-1280                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,222.00
          AMERIPRIDE SERVICES INC                                             Contingent
          PO BOX 249                                                          Unliquidated
          Bemidji, MN 56619-0249                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          AMERITECH FACILITY SERVICES                                         Contingent
          1500 AIRPORT DRIVE                                                  Unliquidated
          Ball Ground, GA 30107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          AMFIRST INSURANCE CO LTD                                            Contingent
          500 STREET ROAD                                                     Unliquidated
          Ridgeland, MS 39157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,000.00
          ANDREW M SAMPSON                                                    Contingent
          1502 KENSINGTON AVE                                                 Unliquidated
          Ocean Springs, MS 39564                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          APG Sandy Springs, LLC                                              Contingent
          PEACHTREE 25th BLDG.,SUITE 100                                      Unliquidated
          1718 Peachtree Street                                               Disputed
          Atlanta, GA 30309
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 17 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ARARAT IMPORT/EXPORT CO. LLC                                        Contingent
          2020 PROGRESS CT# 110                                               Unliquidated
          Raleigh, NC 27608                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ASCAP                                                               Contingent
          21678 NETWORK PLACE                                                 Unliquidated
          Chicago, IL 60673-1216                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $549.07
          AT&T Atlanta                                                        Contingent
          PO BOX 105262                                                       Unliquidated
          Atlanta, GA 30348-5262                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          AT&T Carol Stream                                                   Contingent
          PO BOX 5014                                                         Unliquidated
          Carol Stream, IL 60197-5014                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          AT&T MOBILITY                                                       Contingent
          PO BOX 6463                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ATECH INCORPORATED                                                  Contingent
          PO BOX 24614                                                        Unliquidated
          Nashville, TN 37202                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ATHENS DISTRIBUTING CO, KNOX                                        Contingent
          2567 PRIME WAY-SUITE 102                                            Unliquidated
          Knoxville, TN 37918                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 18 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ATHENS DISTRIBUTING CO, MEMPH.                                      Contingent
          PO BOX 1333                                                         Unliquidated
          Memphis, TN 38101-1333                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ATLANTA BEVERAGE COMPANY                                            Contingent
          5000 FULTON INDUSTRIAL BLDV                                         Unliquidated
          Atlanta, GA 30336-1008                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ATLANTA SPORT AND SOCIAL CLUB                                       Contingent
          260 HOWARD STREET, NE UNIT 1                                        Unliquidated
          Atlanta, GA 30317                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ATLAS                                                               Contingent
          P O BOX 2683                                                        Unliquidated
          3530 GREENSBORO AVE                                                 Disputed
          Tuscaloosa, AL 35403
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $440.61
          ATMOS ENERGY                                                        Contingent
          PO BOX 790311                                                       Unliquidated
          Saint Louis, MO 63179-0311                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $448.08
          AUTO-CHLOR SYSTEM                                                   Contingent
          193 COUNTRY PLACE PKWY                                              Unliquidated
          Pearl, MS 39208                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          B&E COMMUNICATIONS INC                                              Contingent
          PO BOX 7656                                                         Unliquidated
          Jackson, MS 39284-7656                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 19 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BANNER LIFE INSURANCE COMPANY                                       Contingent
          PO BOX 740526                                                       Unliquidated
          Atlanta, GA 30374-0526                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BARBIZON CHARLOTTE INC                                              Contingent
          1016 MC CLELLAND COURT                                              Unliquidated
          Charlotte, NC 28206                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BARDETT DBA A S BARBORO                                             Contingent
          5020 TUGGLE ROAD                                                    Unliquidated
          Memphis, TN 38118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $943.82
          BAUMANN PAPER CO                                                    Contingent
          PO BOX 13022                                                        Unliquidated
          Lexington, KY 40583                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $60,765.00
          BENNETT THRASHER                                                    Contingent
          3300 RIVERWOOD PKWY SUITE 700                                       Unliquidated
          Atlanta, GA 30339                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,130.08
          BEST WESTERN PLUS ROSWELL                                           Contingent
          907 HOLCOMB BRIDGE RD.                                              Unliquidated
          Roswell, GA 30076                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BEVERAGE CONTROL INC                                                Contingent
          PO BOX 52888                                                        Unliquidated
          Knoxville, TN 37950                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 20 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BIRMINGHAM BEVERAGE                                                 Contingent
          211 CITATION COURT                                                  Unliquidated
          Birmingham, AL 35209                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BIRMINGHAM BUDWEISER                                                Contingent
          141 INDUSTRIAL AVENUE                                               Unliquidated
          Birmingham, AL 35211                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BIRMINGHAM RESTAURANT SUPPLY                                        Contingent
          2428 6TH AVE SOUTH                                                  Unliquidated
          Birmingham, AL 35233                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BLUE BELL CREAMERIES                                                Contingent
          PO BOX 973601                                                       Unliquidated
          Dallas, TX 75397-3601                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $140.51
          BOBBYS ELECTRICAL SERVICE INC                                       Contingent
          2533 THIGPEN RD                                                     Unliquidated
          Raymond, MS 39154                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BOBKAT FARMS LLC                                                    Contingent
          1207 ROSEMARY RD                                                    Unliquidated
          Florence, MS 39073                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BOWIE AUDIO VISUAL ENTERPRISES                                      Contingent
          290 HIGHPOINT DR                                                    Unliquidated
          Ridgeland, MS 39157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 11 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 21 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BRANDON LIGHTING INC                                                Contingent
          PO BOX 542                                                          Unliquidated
          Brandon, MS 39043                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BRAXTON L STEVENSONS WINDOW                                         Contingent
          CLEANING SERVICE                                                    Unliquidated
          230 LEMLY AVE                                                       Disputed
          Jackson, MS 39209
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BRENDON MURPHY                                                      Contingent
          11920 HENDERSON HILL ROAD                                           Unliquidated
          Huntersville, NC 28078                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BROWN BOTTLING - JACKSON                                            Contingent
          1651 MARQUETTE RD                                                   Unliquidated
          Brandon, MS 39042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BRUNINI                                                             Contingent
          PO DRAWER 119                                                       Unliquidated
          Jackson, MS 39205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BUCKHEAD BEEF COMPANY                                               Contingent
          4500 WICKERSHAM DR                                                  Unliquidated
          Atlanta, GA 30337                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          BUFORD PLUMBING COMPANY INC                                         Contingent
          PO BOX 8601                                                         Unliquidated
          Jackson, MS 39284                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 12 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 22 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          C&J PEST SERVICES                                                   Contingent
          PO BOX 720901                                                       Unliquidated
          Byram, MS 39272                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CAMPBELLS BAKERY                                                    Contingent
          3013 N STATE ST                                                     Unliquidated
          Jackson, MS 39216                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,468.81
          CANDLEWOOD SUITES BIRMINGHAM                                        Contingent
          400 COMMONS DRIVE                                                   Unliquidated
          Birmingham, AL 35209                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $344.44
          CANDLEWOOD SUITES FLOWOOD                                           Contingent
          3810 FLOWOOD DRIVE                                                  Unliquidated
          Flowood, MS 39232                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CANDLEWOOD SUITES-MEMPHIS                                           Contingent
          7950 CENTENNIAL DR                                                  Unliquidated
          Memphis, TN 38125                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CAPITAL CITY BEVERAGE                                               Contingent
          920 WEST COUNTY LINE ROAD                                           Unliquidated
          Jackson, MS 39213                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CAPITAL CITY MECHANICAL SVCS.                                       Contingent
          4955 AVALON RIDGE PARKWAY                                           Unliquidated
          SUITE 100                                                           Disputed
          Norcross, GA 30071
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 13 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 23 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CAPITOL HARDWARE CO INC                                             Contingent
          CAPITOL BUILDING PRODUCTS                                           Unliquidated
          PO BOX 12730                                                        Disputed
          Jackson, MS 39236-2730
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CASE MANAGEMENT SOLUTIONS                                           Contingent
          136 CAVANAUGH DR                                                    Unliquidated
          Madison, MS 39110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CDE INTEGRATED SYSTEMS INC                                          Contingent
          6 TWELVE OAK CIRCLE                                                 Unliquidated
          Jackson, MS 39209                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CELLAR DISTRIBUTING, LLC                                            Contingent
          6012 OLD PINEVILLE RD SUITE E                                       Unliquidated
          Charlotte, NC 28217                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CENTERPOINT ENERGY                                                  Contingent
          PO BOX 4981                                                         Unliquidated
          Houston, TX 77210-4981                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CENTURY FIRE PROTECTION                                             Contingent
          2450 SATELLITE BLVD                                                 Unliquidated
          Duluth, GA 30096                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CHAMBLISS FRESH AROMA LL (CFA)                                      Contingent
          618 BYRAM MEADOWS DR                                                Unliquidated
          Byram, MS 39272                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 14 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 24 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CHEROKEE DISTRIBUTING CO                                            Contingent
          200 MILLER MAIN CIRCLE                                              Unliquidated
          Knoxville, TN 37919                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CHILDRESS UPHOLESTERY                                               Contingent
          3320 HWY 80 W SUITE C                                               Unliquidated
          Jackson, MS 39204                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $759.30
          CINTAS 206                                                          Contingent
          PO BOX 630921                                                       Unliquidated
          Cincinnati, OH 45263-0921                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $176.00
          CINTAS CORPORATION #210                                             Contingent
          PO BOX 630921                                                       Unliquidated
          Cincinnati, OH 45263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $793.34
          CINTAS CORPORATION #312                                             Contingent
          100 WESTHAMPTON DRIVE                                               Unliquidated
          Lexington, KY 40511                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CINTAS CORPORATION #J66                                             Contingent
          PO BOX 630921                                                       Unliquidated
          Cincinnati, OH 45263-0921                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CITY OF ATLANTA                                                     Contingent
          55 TRINITY STREET STE. 350                                          Unliquidated
          DEPT OF PLANNING AND COMMUNITY                                      Disputed
          Atlanta, GA 30303
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 15 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 25 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CITY OF BIRMINGHAM                                                  Contingent
          PO BOX 830638                                                       Unliquidated
          Birmingham, AL 35283-0638                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CITY OF CHARLOTTE                                                   Contingent
          PO BOX 1316                                                         Unliquidated
          Charlotte, NC 28201-1316                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CITY OF KNOXVILLE                                                   Contingent
          PO BOX 1028                                                         Unliquidated
          Knoxville, TN 37901-1028                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CITY OF MEMPHIS-PERMIT OFFICE                                       Contingent
          2714 UNION AVE EXT                                                  Unliquidated
          SUITE 100                                                           Disputed
          Memphis, TN 38112
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CITY OF ROSWELL                                                     Contingent
          BUSINESS REGISTRATION OFFICE                                        Unliquidated
          38 HILL ST STE G30                                                  Disputed
          Roswell, GA 30075
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $82.00
          CITY OF ROSWELL UTILITY PMT.                                        Contingent
          PO BOX 732680                                                       Unliquidated
          Dallas, TX 75373-2680                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CLARK BEVERAGE GROUP INC                                            Contingent
          PO BOX 3090                                                         Unliquidated
          Bowling Green, KY 42102                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 16 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 26 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CLARK DISTRIBUTING CO INC                                           Contingent
          300 OAKLAND FLATROCK ROAD                                           Unliquidated
          Oakland, KY 42159                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CMC ELECTRIC, LLC                                                   Contingent
          PO BOX 1833                                                         Unliquidated
          Clayton, NC 27528                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          COBB PLUMBING CO INC                                                Contingent
          2286 PODESTA COVE                                                   Unliquidated
          Memphis, TN 38134                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $163.89
          COCA COLA BOTTLING CO                                               Contingent
          PO BOX 602937                                                       Unliquidated
          Charlotte, NC 28260-2937                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $230.00
          COCA COLA BOTTLING COMPANY                                          Contingent
          PO BOX 105637                                                       Unliquidated
          Atlanta, GA 30348-5637                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          COLUMBIA GAS                                                        Contingent
          PO BOX 742523                                                       Unliquidated
          Cincinnati, OH 45274-2523                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $773.85
          COMCAST                                                             Contingent
          PO BOX 71211                                                        Unliquidated
          Charlotte, NC 28272-1211                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 17 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 27 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          COMCAST CABLE                                                       Contingent
          PO BOX 530098                                                       Unliquidated
          Atlanta, GA 30353-0098                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          COMMUNIQUE CONFERENCING                                             Contingent
          PO BOX 409573                                                       Unliquidated
          Atlanta, GA 30384-1866                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,805.15
          COMPEAT INC                                                         Contingent
          11500 ALTERRA PARKWAY                                               Unliquidated
          SUITE 130                                                           Disputed
          Austin, TX 78758
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CONSTRUCTION CODE ENFORCEMENT                                       Contingent
          6465 MULLINS STATION                                                Unliquidated
          Memphis, TN 38134                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CONTEMPORARY MEDIA INC                                              Contingent
          PO BOX 1738                                                         Unliquidated
          Memphis, TN 38101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          COOK'S PEST CONTROL INC                                             Contingent
          PO BOX 341898                                                       Unliquidated
          Memphis, TN 38184-1898                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $114.00
          COOK'S PEST CONTROL INC 03                                          Contingent
          PO BOX 1789 , TN 37849                                              Unliquidated
          Powell, TN 37849                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 18 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 28 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          COOPER GLASS COMPANY LLC                                            Contingent
          PO BOX 119                                                          Unliquidated
          Marion, AR 72364                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CORKSCREW FINE WINE & SPIRITS                                       Contingent
          4800 I-55 NORTH SUITE 32                                            Unliquidated
          Jackson, MS 39211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          COUCH'S LAWN CARE, INC.                                             Contingent
          101 CHESTNUT DRIVE                                                  Unliquidated
          Clinton, MS 39056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,501.99
          COZZINI BROS INC                                                    Contingent
          350 HOWARD AVENUE                                                   Unliquidated
          Des Plaines, IL 60018                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,683.82
          CREATION GARDENS                                                    Contingent
          2055 NELSON MILLER PARKWAY                                          Unliquidated
          Louisville, KY 40223                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CREATIVE PROCESS LLC                                                Contingent
          PO BOX 4553                                                         Unliquidated
          Jackson, MS 39296                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,544.60
          CROWNE CENTRE LLC                                                   Contingent
          5101 WHEELIS DR STE 320
          Memphis, TN 38117
                                                                              Unliquidated
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 19 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 29 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CROWNE PLAZA                                                        Contingent
          401 W. SUMMIT HILL DRIVE                                            Unliquidated
          Knoxville, TN 37902                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $380.89
          CUSTOM BEVERAGE SYSTEMS                                             Contingent
          PO BOX 13123                                                        Unliquidated
          Jackson, MS 39236                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CUSTOM KLIMATE                                                      Contingent
          224 BROWN INDUSTRIAL PARKWAY                                        Unliquidated
          UNIT 107                                                            Disputed
          Canton, GA 30114
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CUSTOMER IMPACT LLC                                                 Contingent
          PO BOX 130638                                                       Unliquidated
          Spring, TX 77393                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          D&V DISTRIBUTING COMPANY                                            Contingent
          PO BOX 10865                                                        Unliquidated
          Knoxville, TN 37939                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $71.40
          DADE PAPER AND BAG CO                                               Contingent
          440 INTERSTATE WEST PARKWAY                                         Unliquidated
          SUITE 200                                                           Disputed
          Lithia Springs, GA 30122
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          DANIEL FLORES                                                       Contingent
          7897 REDFEARN IN                                                    Unliquidated
          Memphis, TN 38104                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 20 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 30 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $87.00
          DARLING INGREDIENTS INC                                             Contingent
          PO BOX 554885                                                       Unliquidated
          Detroit, MI 48255-4885                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $175.00
          DAUENHAUER PLUMBING SERVICES                                        Contingent
          3416 ROBARDS COURT                                                  Unliquidated
          Louisville, KY 40218                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,500.00
          David R. White                                                      Contingent
          212 Calumet                                                         Unliquidated
          Madison, MS 39110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $925.00
          DBR DEVELOPMENT INC                                                 Contingent
          6369 MACON ROAD                                                     Unliquidated
          Memphis, TN 38134                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          DEE JAYS EVENT RENTALS LLC                                          Contingent
          704 BEACON LAKE DR                                                  Unliquidated
          Raleigh, NC 27610                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          DELTA LIGHTING PRODUCTS INC                                         Contingent
          2570 METROPOLITAN DRIVE                                             Unliquidated
          Feasterville Trevose, PA 19053                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          DENTS HEATING AND COOLING LLC                                       Contingent
          200 SHEPPARD RD.,                                                   Unliquidated
          Jackson, MS 39206                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 21 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 31 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,338.38
          DIGITEL CORPORATION                                                 Contingent
          2600 SCHOOL DR                                                      Unliquidated
          Atlanta, GA 30360                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,121.03
          DIRECT TV                                                           Contingent
          PO BOX 105249                                                       Unliquidated
          Atlanta, GA 30348-5249                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,270.79
          DIXIE PRODUCE INC                                                   Contingent
          PO BOX 429                                                          Unliquidated
          Chattanooga, TN 37401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          DOUBLE J COMMUNICATIONS                                             Contingent
          3290 PLUM POINT ROAD EAST                                           Unliquidated
          Olive Branch, MS 38654                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          DOWNS SECURITY SOLUTIONS INC                                        Contingent
          1846 CHESHIRE BRIDGE RD                                             Unliquidated
          Atlanta, GA 30324                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,062.08
          DRAFT DOCTORS, LLC                                                  Contingent
          MICHELLE ATKINS                                                     Unliquidated
          1885 NEW HOPE ROAD                                                  Disputed
          Joelton, TN 37080
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          DRIVERS LICENSE GUIDE COMPANY                                       Contingent
          1492 ODDSTAD DRIVE                                                  Unliquidated
          Redwood City, CA 94063                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 22 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 32 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,378.11
          DUKE ENERGY                                                         Contingent
          PO BOX 70516                                                        Unliquidated
          Charlotte, NC 28272-0516                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EAGLE DISTRIBUTING                                                  Contingent
          45 E H CRUMP BOULEVARD W                                            Unliquidated
          Memphis, TN 38106                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EAGLE DISTRIBUTING COMPANY INC                                      Contingent
          310 RADFORD PLACE                                                   Unliquidated
          Knoxville, TN 37917-4936                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EASTERN ALLIANCE INSURANCE GRP                                      Contingent
          PO BOX 206                                                          Unliquidated
          East Petersburg, PA 17520                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EASTERN ALLIANCE INSURANCE GRP                                      Contingent
          PO BOX 4664                                                         Unliquidated
          Philadelphia, PA 19178                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $47.20
          ECOLAB FOOD SAFETY SPECIALTIES                                      Contingent
          24198 NETWORK PLACE                                                 Unliquidated
          Chicago, IL 60673-1241                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,789.80
          ECOLAB INSTITUTIONAL                                                Contingent
          PO BOX 32027                                                        Unliquidated
          New York, NY 10087-2027                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 23 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 33 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,632.16
          ECOLAB PEST ELIMINATIONS                                            Contingent
          26252 NETWORK PLACE                                                 Unliquidated
          Chicago, IL 60673-1262                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EIGHTH SOUTH LLC                                                    Contingent
          114 S COURT SQUARE                                                  Unliquidated
          McMinnville, TN 37110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $468.00
          EMERALD COAST CUTLERY INC                                           Contingent
          PO BOX 751                                                          Unliquidated
          Loxley, AL 36551                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,010.00
          EMG3, LLC                                                           Contingent
          380 US RPUTE 1                                                      Unliquidated
          Falmouth, ME 04105                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EMPIRE DISTR INC-ATL                                                Contingent
          3755 ATLANTA INDUSTRIAL PWKY                                        Unliquidated
          Atlanta, GA 30331                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EMPIRE DISTR INC-RALEIGH                                            Contingent
          1757 T.W ALEXANDER DR                                               Unliquidated
          Durham, NC 27703                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EMPIRE DISTR OF N. CAROLINA                                         Contingent
          13833 CAROWINDS BLVD                                                Unliquidated
          Charlotte, NC 28273                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 24 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 34 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EMPIRE DISTR OF TENNESSEE                                           Contingent
          3676 E. RAINES ROAD                                                 Unliquidated
          Memphis, TN 38118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EMPIRE DISTR OF TENNESSEE                                           Contingent
          PO BOX 50188                                                        Unliquidated
          Knoxville, TN 37950                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $281.79
          ENGERT                                                              Contingent
          PO BOX 55                                                           Unliquidated
          Knoxville, TN 37950-1000                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,374.51
          ENTERGY                                                             Contingent
          PO BOX 8105                                                         Unliquidated
          Baton Rouge, LA 70891-8105                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,836.63
          ENVIRO-MASTER SERVICES                                              Contingent
          PO BOX 12350                                                        Unliquidated
          Charlotte, NC 28220                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $342.91
          ENVIRONMENTAL MASTERS INC                                           Contingent
          PO BOX 1015                                                         Unliquidated
          Jackson, MS 39215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          ESTATE OF SIDNEY ALLEN                                              Contingent
          200 BRAE BURN DRIVE                                                 Unliquidated
          Jackson, MS 39211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 25 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 35 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EVANS MEATS                                                         Contingent
          PO BOX 12164                                                        Unliquidated
          Birmingham, AL 35202                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $843.75
          EVIE CLARK                                                          Contingent
          605 MALLISON PLACE                                                  Unliquidated
          Ridgeland, MS 39157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EXHAUST CLEAN                                                       Contingent
          PO BOX 239                                                          Unliquidated
          Morrisville, NC 27560                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $406.00
          FEDERAL ALARM COMPANY                                               Contingent
          3550 COVINGTON PIKE STE 108                                         Unliquidated
          Memphis, TN 38128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,637.54
          FEDERAL REALTY INVEST TRUST                                         Contingent
          EASGATE CROSSING LOCKBOX #9320                                      Unliquidated
          PO BOX 8500                                                         Disputed
          Philadelphia, PA 19178-9320
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FEDERAL REALTY INVEST TRUST                                         Contingent
          1626 EAST JEFFERSON STREET                                          Unliquidated
          Rockville, MD 20852                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FEDEX                                                               Contingent
          PO BOX 660481                                                       Unliquidated
          Dallas, TX 75266-0481                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 26 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 36 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $387.00
          FISHER BROWN BOTTRELL INS INC                                       Contingent
          PO BOX 1490                                                         Unliquidated
          Jackson, MS 39215-1490                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,000.00
          FLORIDA CONCEPTS HOLDINGS, LLC                                      Contingent
          36750 US HWY 19 NORTH                                               Unliquidated
          Palm Harbor, FL 34684                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $7.48
          FONDREN CELLARS                                                     Contingent
          PO BOX 4692                                                         Unliquidated
          Jackson, MS 39296                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,441.50
          FONDREN PLACE DEVELOPMENT CO                                        Contingent
          2906 N STATE ST
          SUITE 201
                                                                              Unliquidated
          Jackson, MS 39216                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,746.34
          FOOD EQUIPMENT SERVICES CO LLC                                      Contingent
          2315 SYCAMORE DRIVE                                                 Unliquidated
          Knoxville, TN 37921-1750                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,150.34
          FORESTWOOD FARM INC                                                 Contingent
          PO BOX 310728                                                       Unliquidated
          Birmingham, AL 35231-0728                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,920.00
          FORSYTH CONSULTING INC                                              Contingent
          PO BOX 530728                                                       Unliquidated
          Birmingham, AL 35253-0728                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 27 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 37 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          FRANK A. SCOTT, IRA                                                 Contingent
          15397 SWAN LAKE BLVD                                                Unliquidated
          Gulfport, MS 39503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FRENCH AWNING & SCREEN CO.                                          Contingent
          4514 S.MCRAVEN ROAD                                                 Unliquidated
          Jackson, MS 39204                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FRESHPOINT ATLANTA                                                  Contingent
          1200 OAKLEY INDUSTRIAL BLVD SU                                      Unliquidated
          Fairburn, GA 30213                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,331.79
          FRESHPOINT ATLANTA 654133                                           Contingent
          1200 OAKLEY INDUSTRIAL BLVD                                         Unliquidated
          SUITE B                                                             Disputed
          Fairburn, GA 30213
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,539.96
          FRESHPOINT BIRMINGHAM 654130                                        Contingent
          1200 OAKLEY INDUSTRIAL BLVD                                         Unliquidated
          SUITE B                                                             Disputed
          Fairburn, GA 30213
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,066.97
          FRESHPOINT CHAPEL HILL 57465                                        Contingent
          1200 OAKLEY INDUSTRIAL BLVD                                         Unliquidated
          Fairburn, GA 30213                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FRESHPOINT CHARLOTTE                                                Contingent
          1200 OAKLEY INDUSTRIAL BLVD                                         Unliquidated
          SUITE B                                                             Disputed
          Fairburn, GA 30213
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 28 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 38 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,598.75
          FRESHPOINT KNOXVILLE 59012                                          Contingent
          740 MASSMAN DRIVE                                                   Unliquidated
          Nashville, TN 37210                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,889.32
          FRESHPOINT MEMPHIS EAST 80098                                       Contingent
          740 MASSMAN DRIVE                                                   Unliquidated
          Nashville, TN 37210                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FRESHPOINT NASHVILLE                                                Contingent
          740 MASSMAN DRIVE SUITE 100                                         Unliquidated
          Nashville, TN 37210                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,522.33
          FRESHPOINT OVERTON 55050                                            Contingent
          740 MASSMAN DRIVE                                                   Unliquidated
          Nashville, TN 37210                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FRESHPOINT RALEIGH                                                  Contingent
          1200 OAKLEY INDUSTRIAL BLVD                                         Unliquidated
          Fairburn, GA 30213                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FRITZ FARM RETAIL COMPANY LLC                                       Contingent
          PO BOX 740465                                                       Unliquidated
          Atlanta, GA 30374-0465                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FS-1 CONCEPTS LLC                                                   Contingent
          14 STRATFORD CT                                                     Unliquidated
          Hattiesburg, MS 39402                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 29 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 39 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FULLSTEAM BREWERY LLC                                               Contingent
          726 RIGSBEE AVENUE                                                  Unliquidated
          Durham, NC 27701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          G. DALE SMITH                                                       Contingent
          1941 HIGHWAY 550 NW                                                 Unliquidated
          Brookhaven, MS 39601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GASKET GUY                                                          Contingent
          2076 3RD ST                                                         Unliquidated
          Mandeville, LA 70471                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GASKET GUY OF KNOXVILLE                                             Contingent
          PO BOX 53011                                                        Unliquidated
          Knoxville, TN 37950                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,447.95
          GEM RESTAURANT SUPPLY                                               Contingent
          PO BOX 140477                                                       Unliquidated
          Memphis, TN 38114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,357.66
          GENERAL PARTS LLC                                                   Contingent
          PO BOX 9201                                                         Unliquidated
          M110                                                                Disputed
          Minneapolis, MN 55480-9201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GENERAL WHOLESALE-MARIETTA                                          Contingent
          1595 MARIETTA BLVD                                                  Unliquidated
          Atlanta, GA 30318                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 30 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 40 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GEORGIA CROWN DISTRIBUTING CO                                       Contingent
          100 GEORGIA CROWN DRIVE                                             Unliquidated
          McDonough, GA 30253                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,388.06
          GEORGIA POWER                                                       Contingent
          96 ANNEX                                                            Unliquidated
          Atlanta, GA 30396-0001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          GERALD J. DIAZ, JR.                                                 Contingent
          208 WATERFORD SQUARE                                                Unliquidated
          Suite 300                                                           Disputed
          Madison, MS 39110
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          GODWIN GROUP                                                        Contingent
          One Jackson Place                                                   Unliquidated
          Suite 800 PO BOX 531                                                Disputed
          Jackson, MS 39201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GOT FRESH BREATH LLC                                                Contingent
          101 ETHAN ALLEN DR                                                  Unliquidated
          Dahlonega, GA 30533                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GRAPEVINE OF NORTH CAROLINA                                         Contingent
          4375 REPUBLIC COURT                                                 Unliquidated
          Concord, NC 28027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GREAT SOUTHERN EVENTS INC                                           Contingent
          124 SAVE A LOT DRIVE                                                Unliquidated
          Pearl, MS 39208                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 31 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 41 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GUESTLINE INC                                                       Contingent
          P. O. BOX. 21908                                                    Unliquidated
          Lancaster, KY 40444                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GULF DISTR CO OF BIRMINGHAM                                         Contingent
          3378 MOFFETT RD                                                     Unliquidated
          Mobile, AL 36607                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,212.41
          HALIFAX LINEN SERVICE                                               Contingent
          PO BOX 129                                                          Unliquidated
          Roanoke Rapids, NC 27870                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,226.30
          HALLORAN SAGE                                                       Contingent
          225 ASYLUM STREET                                                   Unliquidated
          Hartford, CT 06103                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          HARRIS BEVERAGE                                                     Contingent
          3505 HILLSBOROUGH RD                                                Unliquidated
          Durham, NC 27705                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          HARRY TS WHOLESALE                                                  Contingent
          758 HWY 43 S                                                        Unliquidated
          Canton, MS 39046                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,099.62
          HATCHER HILL & ASSOCIATES GP                                        Contingent
          311 S WEISGARBER ROAD
          Knoxville, TN 37919
                                                                              Unliquidated
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 32 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 42 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $70,000.00
          HENRY F SKELTON, II                                                 Contingent
          500 ANGLERS DRIVE, UNIT 102                                         Unliquidated
          Steamboat Springs, CO 80487                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          HENRY T SMITH CO INC                                                Contingent
          588 S COOPER ST                                                     Unliquidated
          Memphis, TN 38104                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          HINDS COUNTY TAX COLLECTOR                                          Contingent
          EDDIE FAIR                                                          Unliquidated
          PO BOX 1727                                                         Disputed
          Jackson, MS 39215-1727
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $266.57
          HOBART SALES AND SERVICE                                            Contingent
          2626 EAST MAGNOLIA AVENUE                                           Unliquidated
          Knoxville, TN 37914                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          HOBART SERVICES                                                     Contingent
          1011 N FLOWOOD DR                                                   Unliquidated
          Flowood, MS 39232-9593                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,043.80
          HOLIDAY INN EXPRESS                                                 Contingent
          112 RIDGE WAY                                                       Unliquidated
          Flowood, MS 39232                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          HOMETOWN MAGAZINES                                                  Contingent
          PO BOX 1522                                                         Unliquidated
          Brandon, MS 39043                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 33 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 43 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          HOOD OF GREATER KNOXVILLE                                           Contingent
          7998 GREENBRIAR RD                                                  Unliquidated
          Talbott, TN 37877                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,311.00
          HOSPITALITY CONTROL SOLUTIONS                                       Contingent
          PO BOX 40308                                                        Unliquidated
          Nashville, TN 37204-0308                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,386.97
          HOT SCHEDULES                                                       Contingent
          PO BOX 848472                                                       Unliquidated
          Dallas, TX 75284-8472                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          HOTEL & RESTAURANT SUPPLY INC                                       Contingent
          PO BOX 6                                                            Unliquidated
          Meridian, MS 39302                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,600.00
          HYDRO BLAST HOOD CLEANING SVCS                                      Contingent
          2541 W MOUNTAIN CREEK RD                                            Unliquidated
          Florence, MS 39073                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,523.39
          INLAND ATLANTA-41719                                                Contingent
          PO BOX 450669                                                       Unliquidated
          Atlanta, GA 31145                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,167.13
          INLAND BIRMINGHAM-39766                                             Contingent
          PO BOX 450669                                                       Unliquidated
          Atlanta, GA 31145                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 34 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 44 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,135.99
          INLAND CHAPEL HILL-41808                                            Contingent
          PO BOX 450669                                                       Unliquidated
          Atlanta, GA 31145                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $37,599.65
          INLAND JACKSON-33017                                                Contingent
          PO BOX 450669                                                       Unliquidated
          Atlanta, GA 31145                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,572.94
          INLAND KNOXVILLE-39553                                              Contingent
          PO BOX 450669                                                       Unliquidated
          Atlanta, GA 31145                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          INLAND LEXINGTON-42969                                              Contingent
          PO BOX 450669                                                       Unliquidated
          Atlanta, GA 31145                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,460.90
          INLAND MEMPHIS EAST-41554                                           Contingent
          PO BOX 450669                                                       Unliquidated
          Atlanta, GA 31145                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $33,764.23
          INLAND OVERTON-38470                                                Contingent
          PO BOX 450669                                                       Unliquidated
          Atlanta, GA 31145                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $109,693.38
          INLAND SEAFOOD                                                      Contingent
          PO BOX 450669                                                       Unliquidated
          ATTN ACCOUNTS RECEIVABLE                                            Disputed
          Atlanta, GA 31145
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 35 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 45 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          INT'L WINES & CRAFT BEER                                            Contingent
          301 SNOW DRIVE                                                      Unliquidated
          Birmingham, AL 35209-6305                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          INTEGRATED SYSTEMS LLC                                              Contingent
          116 SOUTH MAILN AVENUE                                              Unliquidated
          Dyersburg, TN 38024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          INVESTMENT PARTNERS, LLC                                            Contingent
          114 S. COURT SQUARE                                                 Unliquidated
          McMinnville, TN 37110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,621.43
          IPFS CORPORATION                                                    Contingent
          PO BOX 730223                                                       Unliquidated
          Dallas, TX 75373-0223                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $187,500.00
          IRBY INVESTMENTS, LLC                                               Contingent
          4027 HILLSBORO PIKE, SUITE 803                                      Unliquidated
          Nashville, TN 37215                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $120.09
          IRON MOUNTAIN                                                       Contingent
          PO BOX 915004                                                       Unliquidated
          Dallas, TX 75391-5004                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $118.80
          IT CONNECTIONS LLC                                                  Contingent
          406 AMUNDSEN COVE                                                   Unliquidated
          Cordova, TN 38018                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 36 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 46 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          J.H. HONEYCUTT & SONS, INC                                          Contingent
          215 EAST HOLLAND STREET                                             Unliquidated
          P. O. BOX 391                                                       Disputed
          Chadbourn, NC 28431
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          J.W.AYERS PLUMBING                                                  Contingent
          2075 LIDDELL DR NE                                                  Unliquidated
          Atlanta, GA 30324                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JACKSON BREAD CO                                                    Contingent
          655 LAKE HARBOUR DRIVE                                              Unliquidated
          SUITE 500                                                           Disputed
          Ridgeland, MS 39157
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JACKSON FREE PRESS INC                                              Contingent
          125 S CONGRESS ST #1324                                             Unliquidated
          Jackson, MS 39201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          JAMES W. CORLEY                                                     Contingent
          6658 YOSEMITE LANE                                                  Unliquidated
          Dallas, TX 75214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          JEFFERSON COUNTY DEPT OF REV.                                       Contingent
          REVENUE ALCOHOL BEV TAX REPORT                                      Unliquidated
          PO BOX 12025                                                        Disputed
          Birmingham, AL 35283-2025
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          JEMCO, LLC                                                          Contingent
          46 CALUMET COURT                                                    Unliquidated
          Madison, MS 39110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 37 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 47 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JEREMY GLISSON                                                      Contingent
          1703 OLD FANNIN RD APT E10                                          Unliquidated
          Flowood, MS 39232                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JESSE ROBERTSON                                                     Contingent
          1106 LEGACY LAKE CIRCLE                                             Unliquidated
          APT #202                                                            Disputed
          Collierville, TN 38017
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JOANNE SHELLEY                                                      Contingent
          7520 WINTERS CHAPEL RD                                              Unliquidated
          Atlanta, GA 30350                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JODI CARY                                                           Contingent
          840 BRIDGE POINT                                                    Unliquidated
          Alpharetta, GA 30005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JODI MEDINA                                                         Contingent
          840 BRIDGE POINTE COURT                                             Unliquidated
          Alpharetta, GA 30005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JOHN TOMASEVICH                                                     Contingent
          11051 BERKELY CLUB DRIVE                                            Unliquidated
          APT. 105                                                            Disputed
          Raleigh, NC 27617
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JOHNNIE THOMAS                                                      Contingent
          5811 RIVER ROAD                                                     Unliquidated
          Jackson, MS 39211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 38 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 48 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JOHNSON BROTHERS MUTUAL DISTRI                                      Contingent
          1133 UPPER ARBURY AVE                                               Unliquidated
          Charlotte, NC 28206                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JONES MCLEOD INC                                                    Contingent
          1530 ALTON RD                                                       Unliquidated
          PO BOX 101329                                                       Disputed
          Birmingham, AL 35210
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          JUD HEUBACH                                                         Contingent
          486 ANNANDALE PKWY                                                  Unliquidated
          Madison, MS 39110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,000.00
          KATHLEEN HOUSE HARDIN, ROTH TR                                      Contingent
          2210 HERITAGE HILL DR                                               Unliquidated
          Jackson, MS 39211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KENTUCKY EAGLE INC                                                  Contingent
          2440 INNOVATION DR                                                  Unliquidated
          Lexington, KY 40511                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KENTUCKY STATE TREASURER                                            Contingent
          KENTUCKY DEPT OF REVENUE                                            Unliquidated
          Frankfort, KY 40618-0010                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $278.78
          KENTUCKY WINDOW CLEANING                                            Contingent
          PO BOX 24039                                                        Unliquidated
          Dayton, OH 45424                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 39 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 49 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,358.70
          KETER ENVIRONMENTAL SERVICES                                        Contingent
          P.O. BOX 417468                                                     Unliquidated
          Boston, MA 02241-7468                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KIM PARR                                                            Contingent
          9755 DOGWOOD ROAD                                                   Unliquidated
          SUITE 200                                                           Disputed
          Roswell, GA 30075
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KNOX COUNTY TRUSTEE                                                 Contingent
          P.O BOX 70                                                          Unliquidated
          Knoxville, TN 37901                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KNOXVILLE BEVERAGE COMPANY INC                                      Contingent
          PO BOX 51628                                                        Unliquidated
          Knoxville, TN 37950-1628                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $131.10
          KNOXVILLE CULLIGAN WATER                                            Contingent
          11150 Outlet Drive                                                  Unliquidated
          Knoxville, TN 37932                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          KNOXVILLE TENESSEE                                                  Contingent
          301 S GAY STREET                                                    Unliquidated
          Knoxville, TN 37902                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,501.79
          KU A PPL COMPANY                                                    Contingent
          PO BOX 9001954                                                      Unliquidated
          Louisville, KY 40290-1954                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 40 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 50 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KUB                                                                 Contingent
          PO BOX 59017                                                        Unliquidated
          Knoxville, TN 37950-9017                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LA CENTRAL CLEANING LLC                                             Contingent
          2020 HOWELL MILL RD # 201                                           Unliquidated
          Atlanta, GA 30318                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,450.00
          LAMAR COMPANIES                                                     Contingent
          PO BOX 96030                                                        Unliquidated
          Baton Rouge, LA 70896                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,706.00
          LANE MECHANICAL INC.                                                Contingent
          515 INDUSTRIAL WAY NORTH                                            Unliquidated
          Dallas, GA 30132                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LAST DAYS OF AUTUMN BREWING                                         Contingent
          808 EAST MAGNOLIA AVE                                               Unliquidated
          Knoxville, TN 37917                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LAUREN IANNACO                                                      Contingent
          236 ROSS MOORE AVE                                                  Unliquidated
          Charlotte, NC 28205                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LEXINGTON POLICE DEPARTMENT                                         Contingent
          150 EAST MAIN STREET                                                Unliquidated
          Lexington, KY 40507                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 41 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 51 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LEXINGTON RETAIL COMPANY, LLC                                       Contingent
          C/O BAYER PROPERTIES, LLC                                           Unliquidated
          2222 ARLINGTON AVENUE                                               Disputed
          Birmingham, AL 35205
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LFUCG                                                               Contingent
          150 E MAIIN ST                                                      Unliquidated
          Lexington, KY 40507                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LIGHT BULB DEPOT                                                    Contingent
          PO BOX 410                                                          Unliquidated
          Aurora, MO 65605-0410                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LINCOIN ROAD PACKAGE STORE                                          Contingent
          2800 LINCOIN ROAD                                                   Unliquidated
          Hattiesburg, MS 39402                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LIPMAN BROTHERS                                                     Contingent
          PO BOX 280300                                                       Unliquidated
          411 GREAT CIRCLE RD                                                 Disputed
          Nashville, TN 37228-0300
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          LONDON AMERICAN INSURANCE CO.                                       Contingent
          8401 NORTH CENTRAL EXPRESSSWAY                                      Unliquidated
          Dallas, TX 75225                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LONG BEVERAGE                                                       Contingent
          10500 WORLD TRADE BLVED                                             Unliquidated
          Raleigh, NC 27617                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 42 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 52 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,121.79
          LOOMIS                                                              Contingent
          DEPT 0757 PO BOX 120757                                             Unliquidated
          Dallas, TX 75312-0757                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $7.95
          LS SCREENING LLC                                                    Contingent
          PO BOX 2051                                                         Unliquidated
          Leander, TX 78646                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,666.67
          LYNN WALL                                                           Contingent
          139 NORTH NATCHEZ                                                   Unliquidated
          Madison, MS 39110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MALORY FORLITI                                                      Contingent
          250 PIEDMONT AVE NE UNIT 1011                                       Unliquidated
          Atlanta, GA 30308                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MARCUS COLEMAN                                                      Contingent
          1321 8TH ST                                                         Unliquidated
          Pleasant Grove, AL 35127                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MARSHALL'S LANDSCAPE MAINT LLC                                      Contingent
          19150 HIGHWAY 18                                                    Unliquidated
          Raymond, MS 39154                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MARY WALLACE                                                        Contingent
          6450 POPLAR AVE SUITE 101                                           Unliquidated
          Memphis, TN 38119                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 43 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 53 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $29,311.95
          MCCARTNEY PRODUCE LLC                                               Contingent
          P.O. BOX 219                                                        Unliquidated
          Paris, TN 38242                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MECHANICAL SYSTEMS COMPANY LLC                                      Contingent
          3965 OLD GETWELL ROAD                                               Unliquidated
          Memphis, TN 38118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,000.00
          MELISSA LIBBY & ASSOCIATES INC                                      Contingent
          1425 ELLSWORTH INDUSTRIAL BLVD                                      Unliquidated
          SUITE 10                                                            Disputed
          Atlanta, GA 30318
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,000.00
          MELISSA SKELTON                                                     Contingent
          133 CAMDEN LANE                                                     Unliquidated
          Madison, MS 39110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $200.00
          MEMPHIS BOTANIC GARDEN FDN                                          Contingent
          750 CHERRY RD                                                       Unliquidated
          Memphis, TN 38117                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,231.00
          MEMPHIS LIGHT GAS & WATER DIV                                       Contingent
          PO BOX 388                                                          Unliquidated
          Memphis, TN 38145-0388                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MEMPHIS MADE BREWING                                                Contingent
          768 SOUTH COOPER                                                    Unliquidated
          Memphis, TN 38104                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 44 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 54 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MEMPHIS RESTAURANT ASSOCIATION                                      Contingent
          PO BOX 770027                                                       Unliquidated
          Memphis, TN 38177-0027                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MEMPHIS/SHELBY CO METRO ALARM                                       Contingent
          125 NORTH MAIN ROOM 1B20                                            Unliquidated
          Memphis, TN 38103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          METRO COMMUNICATIONS INC                                            Contingent
          PO BOX 13668                                                        Unliquidated
          Jackson, MS 39236-3668                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $4.78
          METRO FIRE SYSTEMS INC                                              Contingent
          1327 GALLATIN STREET                                                Unliquidated
          Jackson, MS 39201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,500.00
          MICHAEL J ANTHONY, IRA                                              Contingent
          4525 COLE AVENUE, APT 1101                                          Unliquidated
          Dallas, TX 75205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,916.67
          MICHAEL S. FORTENBERRY                                              Contingent
          3941 EASTWOOD DRIVE                                                 Unliquidated
          Jackson, MS 39211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MICHELLE LAVERTY                                                    Contingent
          1796 NELSON AVE                                                     Unliquidated
          Memphis, TN 38114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 45 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 55 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MIMS DISTRIBUTING COMPANY                                           Contingent
          8605 EBENEZER CHURCH RD                                             Unliquidated
          Raleigh, NC 27617                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MISSISSIPPI DEPT OF REVENUE                                         Contingent
          PO BOX 1033                                                         Unliquidated
          Jackson, MS 39215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MISSISSIPPI ECONOMIC COUNCIL                                        Contingent
          STATE CHAMBER OF COMMERCE                                           Unliquidated
          PO BOX 23276                                                        Disputed
          Jackson, MS 39225-3276
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $895.00
          MISSISSIPPI MAGAZINE                                                Contingent
          5 LAKELAND CIRCLE                                                   Unliquidated
          PO BOX 16445                                                        Disputed
          Jackson, MS 39236
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MISSISSIPPI SERVICES                                                Contingent
          PO BOX 12847                                                        Unliquidated
          Jackson, MS 39236-2847                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MOBILE FIXTURE                                                      Contingent
          1155 MONTLIMAR DRIVE                                                Unliquidated
          Mobile, AL 36609                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          Moon & Hines, LLC                                                   Contingent
          P. O. BOX 3216                                                      Unliquidated
          Ridgeland, MS 39157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 46 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 56 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MOORE'S CARPET CARE                                                 Contingent
          PO BOX 365                                                          Unliquidated
          Ridgeland, MS 39158                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,456.38
          MORRISON AND FOERSTER LLP                                           Contingent
          PO BOX 742335                                                       Unliquidated
          Los Angeles, CA 90074-2335                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,198.09
          MPE SERVICES LLC                                                    Contingent
          7787 HIGHWAY 75                                                     Unliquidated
          Birmingham, AL 35216                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $480.00
          MS BEES                                                             Contingent
          PO BOX 1015                                                         Unliquidated
          Flora, MS 39071                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          NATIONAL DISTRIBUTING CO-ATL                                        Contingent
          1 NATIONAL DR. SW                                                   Unliquidated
          Atlanta, GA 30336                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          NATIONAL FOOD EQUIPMENT SVCS                                        Contingent
          2201 BRENTWOOD ROAD                                                 Unliquidated
          STE 107                                                             Disputed
          Raleigh, NC 27604
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          NETWORK BILLING SYSTEMS LLC DB                                      Contingent
          PO BOX 392193                                                       Unliquidated
          Pittsburgh, PA 15251-9193                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 47 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 57 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          NEXAIR LLC                                                          Contingent
          PO BOX 125                                                          Unliquidated
          Memphis, TN 38101-0125                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $81.07
          NOVATECH INC                                                        Contingent
          PO BOX 740865                                                       Unliquidated
          Atlanta, GA 30374-0865                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,501.13
          NUCO2 LLC                                                           Contingent
          PO BOX 417902                                                       Unliquidated
          Boston, MA 02241-7902                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,800.00
          OBSIDIAN PUBLIC RELATIONS LLC                                       Contingent
          493 S MAIN ST                                                       Unliquidated
          SUITE 101                                                           Disputed
          Memphis, TN 38103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $99.33
          OFF THE DOCK FRESH SEAFOOD                                          Contingent
          PO BOX 18811                                                        Unliquidated
          Memphis, TN 38181                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          OFF THE LOT DETAILING                                               Contingent
          125 AVIAN LN                                                        Unliquidated
          Jackson, MS 39204                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          OGLETREE DEAKINS NASH SMOAK                                         Contingent
          PO BOX 89                                                           Unliquidated
          Columbia, SC 29202                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 48 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 58 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,048.06
          ONEPOINT                                                            Contingent
          PO BOX 1849                                                         Unliquidated
          Woodstock, GA 30188-1369                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ORANGE CO. LBD                                                      Contingent
          1800 E FRANKLIN                                                     Unliquidated
           NC 28514                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ORANGE CO. TAX OFFICE-RENEWAL                                       Contingent
          PO BOX 8181                                                         Unliquidated
          Hillsborough, NC 27278                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ORANGE WATER AND SEWER AUTHORI                                      Contingent
          PO BOX 602659                                                       Unliquidated
          Charlotte, NC 28260-2659                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ORIGIN BANK                                                         Contingent
          1101 ROC LANE                                                       Unliquidated
          Ruston, LA 71270                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ORIGIN BANK                                                         Contingent
          HIGHLAND COLONY FINANCIAL CTR                                       Unliquidated
          1063 HIGHLAND COLONY PARKWAY                                        Disputed
          Ridgeland, MS 39157
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ORIGINAL GRIT GIRL                                                  Contingent
          PO BOX 3023                                                         Unliquidated
          Oxford, MS 38655                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 49 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 59 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,626.00
          OVERTON SQUARE SOUTH LLC                                            Contingent
          PO BOX 171247
          Memphis, TN 38187-1247
                                                                              Unliquidated
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PAINTING AND FAUX FINISHING                                         Contingent
          JARED MCDADE                                                        Unliquidated
          4054 OWEN RD.,                                                      Disputed
          Memphis, TN 38122
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PARTNERS IN EDUCATION                                               Contingent
          1000 NORTH CENTRAL AVENUE                                           Unliquidated
          Knoxville, TN 37917                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          PAUL BROOKS EASON                                                   Contingent
          103 OAKHURST TRAIL                                                  Unliquidated
          Ridgeland, MS 39157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PAVILION BUILDING LLC                                               Contingent
          PAVILION CENTER C/O EQUITABLE                                       Unliquidated
          1215 HIGHTOWER TRAIL                                                Disputed
          Atlanta, GA 30350
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,300.00
          PAYTRONIX SYSTEMS INC                                               Contingent
          80 BRIDGE ST                                                        Unliquidated
          SUITE 400                                                           Disputed
          Newton, MA 02458
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PC CONNECTION SALES CORP                                            Contingent
          PO BOX 536472                                                       Unliquidated
          Pittsburgh, PA 15253-5906                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 50 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 60 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $131.68
          PENNINGTON & TRIM ALARM                                             Contingent
          4374 MANGUM DR STE C                                                Unliquidated
          Flowood, MS 39232                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,870.74
          PHELPS DUNBAR LLP                                                   Contingent
          PO BOX 974798                                                       Unliquidated
          Dallas, TX 75397-4798                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PHOENIX COMMUNICATIONS CORP                                         Contingent
          6949 APPLING FARMS PKWY                                             Unliquidated
          SUITE 101                                                           Disputed
          Memphis, TN 38133
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,360.56
          PHOENIX WHOLESALE FOOD SERVICE                                      Contingent
          16 FOREST PARKWAY BUILDING J                                        Unliquidated
          Forest Park, GA 30297                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,832.21
          PIAZZA PRODUCE& SPECIALTY FOOD                                      Contingent
          PO BOX 68931                                                        Unliquidated
          Indianapolis, IN 46268-0931                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PIEDMONT NATURAL GAS                                                Contingent
          PO BOX 660920                                                       Unliquidated
          Dallas, TX 75266-0920                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PINNACLE IMPORTS                                                    Contingent
          3075 MORGAN ROAD                                                    Unliquidated
          Bessemer, AL 35022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 51 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 61 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PINNACLE TRUST                                                      Contingent
          ATT: JEREMY NELSON                                                  Unliquidated
          101 PORT ST. SUITE 200                                              Disputed
          Madison, MS 39110
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PIP MARKETING SIGNS PRINT                                           Contingent
          420 CHRISTINE DRIVE                                                 Unliquidated
          Ridgeland, MS 39157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          PLANTED EARTH INC.                                                  Contingent
          3365 MOUNTAINSIDE RD                                                Unliquidated
          Birmingham, AL 35243                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PR PRODUCTIONS                                                      Contingent
          2625 PIEDMONT                                                       Unliquidated
          RD NE SUITE 56-402                                                  Disputed
          Atlanta, GA 30324
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $802.92
          PREMIER GREASE                                                      Contingent
          PO BOX 3535                                                         Unliquidated
          Alpharetta, GA 30023                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PRIME WINE AND SPIRITS                                              Contingent
          3137 CHESTNUT DRIVE                                                 Unliquidated
          Atlanta, GA 30340                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PRO KLEEN LLC                                                       Contingent
          PO BOX 660284                                                       Unliquidated
          Birmingham, AL 35216                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 52 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 62 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PRO TEC FIRE SYSTEMS INC                                            Contingent
          5455 CRESTVIEW RD                                                   Unliquidated
          SUITE 20                                                            Disputed
          Memphis, TN 38134
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $19.55
          PSNC ENERGY                                                         Contingent
          P O BOX 100256                                                      Unliquidated
          Columbia, SC 29202-3256                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          QUALITY WINE & SPIRITS                                              Contingent
          2279 DEFOOR HILLS ROAD                                              Unliquidated
          Atlanta, GA 30318-2203                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $240.00
          QUINLEY & WHITWORTH HONEY                                           Contingent
          720 GRIFFIN ROAD                                                    Unliquidated
          Mason, TN 38049                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          RADIOLOGICAL GROUP, PA 401 (K)                                      Contingent
          412 MAPLE LANE                                                      Unliquidated
          Madison, MS 39110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          RADIOLOGICAL GROUP, PA 401 (K)                                      Contingent
          25 EASTBROOKE CIRCLE                                                Unliquidated
          Madison, MS 39110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          RANKIN COUNTY TAX COLLECTOR                                         Contingent
          JUDY FORTENBERRY                                                    Unliquidated
          211 E GOVERNMENT ST STE B                                           Disputed
          Brandon, MS 39042-3269
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 53 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 63 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RAPHAEL SEMMES III                                                  Contingent
          PO BOX 16242                                                        Unliquidated
          Jackson, MS 39236-6242                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RDSTUDIO INC                                                        Contingent
          33 LIVINGSTON AVENUE                                                Unliquidated
          Valhalla, NY 10595                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,500.00
          REBECCA WARE HALTOM, IRA                                            Contingent
          110 GREEN GLADES                                                    Unliquidated
          Ridgeland, MS 39157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $453.60
          REBEL HIGH VELOCITY SEWER SERV                                      Contingent
          333 WILMINGTON STREET                                               Unliquidated
          Jackson, MS 39204                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          REGENCY SUITES HOTEL                                                Contingent
          975 WEST PEACHTREE STREET                                           Unliquidated
          Atlanta, GA 30309                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          REMCO                                                               Contingent
          995 YEAGER PARKWAY                                                  Unliquidated
          Pelham, AL 35124                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          REPUBLIC NATIONAL DISTRIBUTING                                      Contingent
          PO BOX 37100                                                        Unliquidated
          Louisville, KY 40233-7100                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 54 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 64 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RESIDENCE INN B'HAM DOWNTOWN                                        Contingent
          821 20TH STREET SOUTH                                               Unliquidated
          Birmingham, AL 35205                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RESIDENCE INN CHAPEL HILL                                           Contingent
          101 ERWIN RD CHAPLE HILL                                            Unliquidated
          Chapel Hill, NC 27514                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $75,000.00
          RICHARD A WARREN, IRA                                               Contingent
          103 PIMLICO DRIVE                                                   Unliquidated
          Brandon, MS 39042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,916.67
          RICHARD L EATON                                                     Contingent
          P.O. BOX 14067                                                      Unliquidated
          Jackson, MS 39236                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RJ YOUNG COMPANY INC                                                Contingent
          MSC 7511                                                            Unliquidated
          PO BOX 415000                                                       Disputed
          Nashville, TN 37241-7511
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $28,254.33
          ROBERTSON PRODUCE MISSISSIPPI                                       Contingent
          1530 BUSINESS PARK DRIVE                                            Unliquidated
          Clinton, MS 39056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $58,333.33
          ROBIN C. SELBY RLT                                                  Contingent
          1360 PLAYMOOR DRIVE                                                 Unliquidated
          Palm Harbor, FL 34683                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 55 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 65 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,300.50
          ROETZEL & ANDRESS, P.A.                                             Contingent
          222 SOUTH MAIN STREET                                               Unliquidated
          Akron, OH 44308                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,000.00
          ROGER G. AND JAN E. FOSTER                                          Contingent
          1120 POINTE COVE                                                    Unliquidated
          Brandon, MS 39042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          ROLLING MEADOWS, LP                                                 Contingent
          PO BOX 3216                                                         Unliquidated
          Ridgeland, MS 39157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RONALD ROSATI                                                       Contingent
          201 FLORIDA ALE                                                     Unliquidated
          Dunedin, FL 34698                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $58,333.33
          RONALD ROSATI                                                       Contingent
          P. O. BOX 3216                                                      Unliquidated
          Ridgeland, MS 39158                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $730.69
          ROOFTOP SOLUTIONS                                                   Contingent
          2019 CORPORATE LANE SUITE 119                                       Unliquidated
          Chicago, IL 60653                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROYAL CUP COFFEE                                                    Contingent
          PO BOX 206011                                                       Unliquidated
          Dallas, TX 75320-6011                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 56 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 66 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $672.00
          S&S MANAGEMENT GROUP LLC                                            Contingent
          PO BOX 733803                                                       Unliquidated
          Dallas, TX 75373-3803                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,500.00
          S. RANDY EASTERLING, MD                                             Contingent
          607 TIFFINTOWN ROAD                                                 Unliquidated
          Vicksburg, MS 39183                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $132.55
          SAFEGUARD BUSINESS SYSTEMS                                          Contingent
          PO BOX 645624                                                       Unliquidated
          Cincinnati, OH 45264-5624                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,244.97
          SALUS 33 PEACHTREE PLACE                                            Contingent
          c/o NINE 15 MIDTOWN
          915 WEST PEACHTREE STREET NW
                                                                              Unliquidated
          Atlanta, GA 30309                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SAMANAGE USA INC                                                    Contingent
          DEPT CH 10719                                                       Unliquidated
          Palatine, IL 60055-0719                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $59,218.50
          SAR & ASSOCIATES INC                                                Contingent
          73 WOODSTOCK ROAD                                                   Unliquidated
          Roswell, GA 30075-3560                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,249.89
          SARD & LEFF LLC                                                     Contingent
          3789 ROSWELL ROAD                                                   Unliquidated
          Atlanta, GA 30342                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 57 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 67 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SAT/DT, LLC                                                         Contingent
          C/O ASHLEY TILLMAN                                                  Unliquidated
          600 JEFFERSON DRIVE                                                 Disputed
          Charlotte, NC 28270-5348
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SAT/DT, LLC                                                         Contingent
          C/O SARAH A. TILLMAN                                                Unliquidated
          600 JEFFERSON DRIVE                                                 Disputed
          Charlotte, NC 28270-5143
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SAVANNAH DISTRIBUTING CO INC                                        Contingent
          2860 BANKERS INDUSTRI                                               Unliquidated
          Atlanta, GA 30360                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $400.00
          SEAN CHISOLM                                                        Contingent
          9755 DOGWWOOD ROAD STE 200                                          Unliquidated
          Roswell, GA 30075                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,011.33
          SHERATON CHAPEL HILL                                                Contingent
          ONE EUROPA DRIVE                                                    Unliquidated
          Chapel Hill, NC 27517                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SHOFFNER KALTHOFF MES INC                                           Contingent
          PO BOX 10048                                                        Unliquidated
          Knoxville, TN 37939-0048                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,916.67
          SIDNEY P. ALLEN, JR., IRA                                           Contingent
          200 BRAE BURN DRIVE                                                 Unliquidated
          Jackson, MS 39211-1000                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 58 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 68 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SIMMONS FARM RAISED CATFISH                                         Contingent
          2628 ERICKSON ROAD                                                  Unliquidated
          Yazoo City, MS 39194                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $844.39
          SMART CARE EQUIPMENT SOLUTIONS                                      Contingent
          PO BOX 74008980                                                     Unliquidated
          Chicago, IL 60674-8980                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SMILEY PETE PUBLISHING LLC                                          Contingent
          PO BOX 658                                                          Unliquidated
          Lexington, KY 40588-0658                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,427.36
          SMITH FIXTURE CO INC                                                Contingent
          257 EAST GEORGIA                                                    Unliquidated
          Memphis, TN 38126                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,563.54
          SNAGAJOB COM INC                                                    Contingent
          32978 COLLECTION CENTER DRIVE                                       Unliquidated
          Chicago, IL 60693-0329                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SOEFKER SERVICES LLC                                                Contingent
          1568 PANAMA ST                                                      Unliquidated
          Memphis, TN 38108-1919                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $417.81
          SOUTH CENTRAL AV                                                    Contingent
          PO BOX 633497                                                       Unliquidated
          Cincinnati, OH 45263-3497                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 59 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 69 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SOUTHERN BEVERAGE CO                                                Contingent
          1939 DAVIS                                                          Unliquidated
          Richland, MS 39218                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SOUTHERN GLAZER'S OF KY                                             Contingent
          PO BOX 991399                                                       Unliquidated
          Louisville, KY 40269                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SOUTHERN GLAZERS                                                    Contingent
          6290 SHELBY VIEW                                                    Unliquidated
          Memphis, TN 38134                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SOUTHERN GLAZERS WINE & SPIRIT                                      Contingent
          337 INDUSTRIAL DR                                                   Unliquidated
          Jackson, MS 39209                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SPECTACULAR FLOORING                                                Contingent
          TIMOTHY PECK                                                        Unliquidated
          2462 GINA DRIVE                                                     Disputed
          Pearl, MS 39208
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,214.56
          SPIRE                                                               Contingent
          PO BOX 2224                                                         Unliquidated
          Birmingham, AL 35246-0022                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $91,666.67
          STACK & MOYER FAMILY HLDG LLC                                       Contingent
          1308 POST DRIVE                                                     Unliquidated
          Bozeman, MT 59715                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 60 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 70 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,755.67
          STAN STOUT                                                          Contingent
          9755 DOGWOOD RD                                                     Unliquidated
          SUITE 200                                                           Disputed
          Roswell, GA 30075
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STANLEY ENVIRONMENTAL SOLUTION                                      Contingent
          131 MARIPOSA ROAD                                                   Unliquidated
          Stanley, NC 28164                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $595.00
          STATE SYSTEMS INC                                                   Contingent
          PO BOX 372                                                          Unliquidated
          DEPT 90                                                             Disputed
          Memphis, TN 38101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STEELE ENTERPRISES LANDSCAPE S                                      Contingent
          PO BOX 1277                                                         Unliquidated
          Olive Branch, MS 38654                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $20.00
          STERLING INFOSYSTEMS, INC.                                          Contingent
          1 STATE STREET PLAZA, 24TH FL                                       Unliquidated
          New York, NY 10004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STEVEN A ROCKWELL                                                   Contingent
          2919 CAVES ROAD                                                     Unliquidated
          Owings Mills, MD 21117                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,500.00
          STEVEN G. COLLINS                                                   Contingent
          101 FAIRVIEW AVENUE                                                 Unliquidated
          Greenville, SC 29601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 61 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 71 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STEVEN ROCKWELL                                                     Contingent
          40 EAST 89TH STREET APT 4H                                          Unliquidated
          New York, NY 10128-1216                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          STRATEGIC EQUIPMENT AND SUPPLY                                      Contingent
          PO BOX 654020                                                       Unliquidated
          Dallas, TX 75265-4020                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,048.31
          SUNRISE PRODUCE JACKSON                                             Contingent
          4229 MICHAEL AVALON ST                                              Unliquidated
          Jackson, MS 39209                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SWANI GONZALEZ                                                      Contingent
          875 HUNTERHILL DRIVE                                                Unliquidated
          Roswell, GA 30075                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $213.47
          SYNERGY                                                             Contingent
          PO BOX 2960                                                         Unliquidated
          Madison, MS 39130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $60,571.79
          SYSCO ATLANTA - 684530                                              Contingent
          1000 SYSCO DRIVE                                                    Unliquidated
          Calera, AL 35040                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $75,494.90
          SYSCO BIRMINGHAM- 621110                                            Contingent
          1000 SYSCO DRIVE                                                    Unliquidated
          Calera, AL 35040                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 62 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 72 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,330.22
          SYSCO CENTRAL ALABAMA                                               Contingent
          1000 Sysco Drive                                                    Unliquidated
          Calera, AL 35040                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,080.32
          SYSCO CHAPEL HILL 892331                                            Contingent
          PO BOX 96                                                           Unliquidated
          Concord, NC 28026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SYSCO CHARLOTTE LLC                                                 Contingent
          P O BOX 96                                                          Unliquidated
          Attn Cashier                                                        Disputed
          Concord, NC 28026
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $94,433.08
          SYSCO JACKSON LLC                                                   Contingent
          PO BOX 2900                                                         Unliquidated
          Jackson, MS 39207-2900                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $63,994.93
          SYSCO KNOXVILLE LLC                                                 Contingent
          900 TENNESSEE AVENUE                                                Unliquidated
          Knoxville, TN 37921-2630                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SYSCO KNOXVILLE LLC 195891                                          Contingent
          900 TENNESSEE AVENUE                                                Unliquidated
          Knoxville, TN 37921-2630                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $44,705.04
          SYSCO LEXINGTON LLC 233668                                          Contingent
          900 TENNESSEE AVENUE                                                Unliquidated
          Knoxville, TN 37921-2630                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 63 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 73 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,544.42
          SYSCO MEMPHIS                                                       Contingent
          4359 BF GOODRICH BLVD                                               Unliquidated
          Memphis, TN 38118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $87,016.02
          SYSCO MEMPHIS EAST 816355                                           Contingent
          4359 B F GOODRICH                                                   Unliquidated
          Memphis, TN 38118-7306                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $117,473.29
          SYSCO OVERTON-741751                                                Contingent
          4359 B.F GOODRICH BLVD                                              Unliquidated
          Memphis, TN 38118-7306                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $300.00
          T&S FIRE SECURITY                                                   Contingent
          3025 RANDLEMAN ROAD                                                 Unliquidated
          Greensboro, NC 27406                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,800.00
          TAYLOR ENGLISH DUMA LLP                                             Contingent
          1600 PARKWOOD CIRCLE                                                Unliquidated
          SUITE 400                                                           Disputed
          Atlanta, GA 30339
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $128.18
          TEA & COFFEE AMERICA                                                Contingent
          1070 LINDBERGH DRIVE                                                Unliquidated
          Beaumont, TX 77707                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $782.86
          TECH 24-COMMERCIAL FOODSERVICE                                      Contingent
          PO BOX 638959                                                       Unliquidated
          Cincinnati, OH 45263-8959                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 64 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 74 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TENNESSEE ALCOHOLIC BEV COMM'N                                      Contingent
          DAVY CROCKETT TOWER                                                 Unliquidated
          3RD FLOOR, 500 JAMES ROBERTSON                                      Disputed
          Nashville, TN 37243
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE DISH OUTLET INC                                                 Contingent
          242B BIG RUN ROAD                                                   Unliquidated
          Lexington, KY 40503                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE DOOR DOCTORS INC                                                Contingent
          652 CORT CIRCLE NE                                                  Unliquidated
          Birmingham, AL 35215                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE DRAINAGE SOLUTION COMPANY                                       Contingent
          PO BOX 67                                                           Unliquidated
          Elm City, NC 27822                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,958.00
          THE FLATEMAN ROTHMAN LAW FIRM                                       Contingent
          500 FIFTH AVENUE, SUITE 2400                                        Unliquidated
          New York, NY 10110                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $790.41
          THE FLOWER GIRLS                                                    Contingent
          2460 MEADOWBROOK ROAD                                               Unliquidated
          Jackson, MS 39211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $824.13
          THE HILLER COMPANIES                                                Contingent
          PO BOX 935434                                                       Unliquidated
          Atlanta, GA 31193-5434                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 65 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 75 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE ICEBOX                                                          Contingent
          700 LAKE AVENUE                                                     Unliquidated
          Atlanta, GA 30307                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE KERNER FAMILY 944 CANTON L                                      Contingent
          90 CLIFFSIDE CROSSING
          Atlanta, GA 30350
                                                                              Unliquidated
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE KITCHEN GUYS LLC                                                Contingent
          1181 MILLBRIDGE LANE                                                Unliquidated
          Memphis, TN 38120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE O'KEEFE GROUP INC                                               Contingent
          17 BANK STREET                                                      Unliquidated
          PO BOX 1240                                                         Disputed
          Attleboro, MA 02703
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THEODORE STAPLETON                                                  Contingent
          2802 PACES FERRY ROAD, SE                                           Unliquidated
          SUITE 100-B                                                         Disputed
          Atlanta, GA 30339
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THROWER ELECTRIC INC                                                Contingent
          165 BOBBY BOSS DR                                                   Unliquidated
          Loganville, GA 30052                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,279.00
          TIM J ANTIGNANE                                                     Contingent
          2004 CALIBRE CREEK PKWY                                             Unliquidated
          Roswell, GA 30076                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 66 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 76 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $862.70
          TIME WARNER CABLE                                                   Contingent
          PO BOX 70872                                                        Unliquidated
          Charlotte, NC 28272-0872                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TIME WARNER CABLE                                                   Contingent
          PO BOX 1060                                                         Unliquidated
          Carol Stream, IL 60132-1060                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TIMOTHY ANTIGNANE                                                   Contingent
          622 DULING AVE                                                      Unliquidated
          SUITE 106                                                           Disputed
          Jackson, MS 39211-6000
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.00
          TITANS ELECTRICAL INC                                               Contingent
          8421 OLD BROWNSVILLE RD                                             Unliquidated
          Arlington, TN 38002                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          TODD HINES                                                          Contingent
          P. O. BOX 3216                                                      Unliquidated
          Ridgeland, MS 39158                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,460.84
          TOTAL EQUIPMENT MAIN CO INC                                         Contingent
          550 PEARL PARK PLAZA                                                Unliquidated
          Pearl, MS 39208                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $210.00
          TOTAL MAINTENANCE & CONSTR                                          Contingent
          5810 WILLOW SPRINGS DR                                              Unliquidated
          Millington, TN 38053                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 67 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 77 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TOWN OF CHAPEL HILL                                                 Contingent
          C/O FIRE RECOVERY USA, LLC                                          Unliquidated
          PO BOX 935667                                                       Disputed
          Atlanta, GA 31193-5667
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,525.20
          TOWNEPLACE SUITES KNOXVILLE                                         Contingent
          205 LANGLEY PLACE                                                   Unliquidated
          Knoxville, TN 37922-2352                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TOWNEPLACE SUITES MARRIOTT                                          Contingent
          500 WILDWOOD CIRCLE N                                               Unliquidated
          Birmingham, AL 35209                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TRAMONTE & SONS LLC                                                 Contingent
          3850 WELDEN DR                                                      Unliquidated
          Lebanon, OH 45036                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TRI-TECH PRESSURE WASHING INC                                       Contingent
          120 RIVERS EDGE WAY                                                 Unliquidated
          Lancaster, KY 40444                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TRIANGLE REFRIGERATION SERVICE                                      Contingent
          739 PERSHING RD                                                     Unliquidated
          Raleigh, NC 27608                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TRIPLE C DISTRIBUTING COMPANY                                       Contingent
          PO BOX 10068                                                        Unliquidated
          Knoxville, TN 37939-0068                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 68 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 78 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,060.14
          TRITEX SERVICES                                                     Contingent
          PO BOX 962                                                          Unliquidated
          Trenton, GA 30752                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $338.00
          TROY BOWENS                                                         Contingent
          2551 ELMS COURT APT 4                                               Unliquidated
          Memphis, TN 38128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TRYON                                                               Contingent
          4701 STOCKHOLM CT                                                   Unliquidated
          Charlotte, NC 28273-5901                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ULTIMATE DISTRIBUTORS                                               Contingent
          1376 HILLS PI NW                                                    Unliquidated
          Atlanta, GA 30318                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          UNISHIPPERS INC                                                     Contingent
          3337 NORTH HULLEN ST SUITE 300                                      Unliquidated
          Metairie, LA 70002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          UNITED DAIRY FARMERS, INC.                                          Contingent
          3955 MONTGOMERY ROAD                                                Unliquidated
          Cincinnati, OH 45212                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          UNITED DISTRIBUTORS INC                                             Contingent
          5500 UNITED DRIVE                                                   Unliquidated
          Smyrna, GA 30082                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 69 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 79 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          UNITED STATES TREASURY                                              Contingent
          PO BOX 9941, STOP 6552                                              Unliquidated
          Ogden, UT 84409-0941                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          UNITED-JOHNSON BROTHERS OF ALA                                      Contingent
          6000 GREENWOOD PKWY, STE 100                                        Unliquidated
          Bessemer, AL 35022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          US ASSURE INC                                                       Contingent
          PO BOX 935597                                                       Unliquidated
          Atlanta, GA 31193-5597                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VALLEY PRODUCE INC                                                  Contingent
          7130 SMALL CREEK WAY                                                Unliquidated
          Powell, TN 37849                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VISUAL RENAISSANCE PHOTO.                                           Contingent
          945 COLLEGE PLACE CT                                                Unliquidated
          Kennesaw, GA 30144                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WAVERLY RETAIL LLC                                                  Contingent
          301 S COLLEGE ST                                                    Unliquidated
          SUITE 2800                                                          Disputed
          Charlotte, NC 28202-6021
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WEBBMASON MARKETING                                                 Contingent
          PO BOX 62414                                                        Unliquidated
          Baltimore, MD 21264-2414                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 70 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 80 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WELLS FARGO                                                         Contingent
          PO BOX 6434                                                         Unliquidated
          Carol Stream, IL 60197-6434                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WELLS FARGO FINANCIAL LEASING                                       Contingent
          PO BOX 10306                                                        Unliquidated
          Des Moines, IA 50306-0306                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          WEST TENNESSEE CROWN DIST CO                                        Contingent
          7625 APPLING CENTER DRIVE                                           Unliquidated
          Memphis, TN 38133-5069                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $945.00
          WESTERMAN, HATTORI, ET AL. LLP                                      Contingent
          1250 CONNECTICUT AVE N.W.                                           Unliquidated
          SUITE 700                                                           Disputed
          Washington, DC 20036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,322.02
          WHALEY FOOD SERVICE                                                 Contingent
          PO BOX 615                                                          Unliquidated
          Lexington, SC 29071                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          WHEATON FOUNDATION                                                  Contingent
          P.O. BOX 14067                                                      Unliquidated
          Jackson, MS 39236                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,510.00
          WIER BOERNER ARCHITECTURE PLLC                                      Contingent
          2727 OLD CANTON RD                                                  Unliquidated
          STE. 200                                                            Disputed
          Jackson, MS 39216
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 71 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                                     Document     Page 81 of 115
 Debtor       Eat Here Brands LLC                                                                     Case number (if known)            19-61688-wlh
              Name

 3.487     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           WILSON & WILSON IRRIGATION                                         Contingent
           2610 LAKELAND DRIVE                                                Unliquidated
           Flowood, MS 39232                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.488     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           WILSON SAFE COMPANY                                                Contingent
           PO BOX 5310                                                        Unliquidated
           3031 ISLAND AVE                                                    Disputed
           Philadelphia, PA 19142
                                                                             Basis for the claim:    NOTICE ONLY
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.489     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $6,933.52
           WISELY INC                                                         Contingent
           120 WEST WASHINGTON                                                Unliquidated
           SUITE G 2ND FLOOR                                                  Disputed
           Ann Arbor, MI 48104
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.490     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           XCELERATE NETWORKS                                                 Contingent
           3108 6TH AVENUE SOUTH                                              Unliquidated
           Birmingham, AL 35233                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           XTREEM CLEAN                                                       Contingent
           9604 CHI CHI LANE                                                  Unliquidated
           Arlington, TN 38002                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           YELP INC                                                           Contingent
           140 NEW MONTGOMERY ST                                              Unliquidated
           9TH FLOOR                                                          Disputed
           San Francisco, CA 94105
                                                                             Basis for the claim:    NOTICE ONLY
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.493     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           ZURICH NORTH AMERICA                                               Contingent
           PO BOX 4664                                                        Unliquidated
           Carol Stream, IL 60197-4664                                        Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 72 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                              Desc Main
                                                                     Document     Page 82 of 115
 Debtor       Eat Here Brands LLC                                                                Case number (if known)         19-61688-wlh
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                     27,600.00
 5b. Total claims from Part 2                                                                       5b.   +   $                  3,321,105.22
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                     3,348,705.22




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 73 of 73
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                     Desc Main
                                                                     Document     Page 83 of 115
 Fill in this information to identify the case:

 Debtor name         Eat Here Brands LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         19-61688-wlh
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Employee termination
              lease is for and the nature of              agreement
              the debtor's interest

                  State the term remaining                2 bi-weekly payroll
                                                          payments                   ABELARDO RUIZ
              List the contract number of any                                        875 HUNTERHILL DRIVE
                    government contract                                              Roswell, GA 30075


 2.2.         State what the contract or                  Linens
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                1 year, 5 months
                                                                                     Ameripride
              List the contract number of any                                        10801 Wayzata Blvd
                    government contract                                              Hopkins, MN 55305


 2.3.         State what the contract or                  Uniforms
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                1 year, 5 months
                                                                                     Aramark Uniform Services
              List the contract number of any                                        10801 Wayzata Blvd.
                    government contract                                              Hopkins, MN 55305


 2.4.         State what the contract or                  Cleaning supplies
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                9 months
                                                                                     Ecolab, Inc.
              List the contract number of any                                        1 Ecolab Place
                    government contract                                              Saint Paul, MN 55102




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 19-61688-wlh                        Doc 88           Filed 08/30/19 Entered 08/30/19 17:07:47                Desc Main
                                                                     Document     Page 84 of 115
 Debtor 1 Eat Here Brands LLC                                                                Case number (if known)   19-61688-wlh
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Food
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                4 years
                                                                                     Edward Don & Company, LLC
             List the contract number of any                                         9801 Adam Don Parkway
                   government contract                                               Woodridge, IL 60517


 2.6.        State what the contract or                   Myster Diner
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                5 months
                                                                                     EMG3, LLC
             List the contract number of any                                         380 US Route 1
                   government contract                                               Falmouth, ME 04105


 2.7.        State what the contract or                   Phone messaging hold
             lease is for and the nature of               music
             the debtor's interest

                  State the term remaining                3 years
                                                                                     Forsyth Consulting, Inc.
             List the contract number of any                                         PO Box 530728
                   government contract                                               Birmingham, AL 35253


 2.8.        State what the contract or                   Produce
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                2 years, 7 months          Fresh Concepts
                                                                                     25109 Jefferson Avenue
             List the contract number of any                                         Suite 305
                   government contract                                               Murrieta, CA 92562


 2.9.        State what the contract or                   Cash card for employee
             lease is for and the nature of               pay
             the debtor's interest

                  State the term remaining                9 months                   Global Cash Card
                                                                                     7 Corporate Park
             List the contract number of any                                         Suite 130
                   government contract                                               Irvine, CA 92606


 2.10.       State what the contract or                   POS System
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1 year                     Hospitality Control Solutions
                                                                                     1301 8th Avenue S
             List the contract number of any                                         Nashville, TN 37203
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 19-61688-wlh                        Doc 88           Filed 08/30/19 Entered 08/30/19 17:07:47                 Desc Main
                                                                     Document     Page 85 of 115
 Debtor 1 Eat Here Brands LLC                                                                 Case number (if known)   19-61688-wlh
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.11.       State what the contract or                   Billboard advertising
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months
                                                                                      Lamar
             List the contract number of any                                          PO Box 24613
                   government contract                                                Knoxville, TN 37933


 2.12.       State what the contract or                   Currency services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1 year                      Loomis Armored US LLC
                                                                                      2500 City West Blvd
             List the contract number of any                                          Suite 900
                   government contract                                                Houston, TX 77042


 2.13.       State what the contract or                   Public relations
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                month to month
                                                                                      Melissa Libby & Associates
             List the contract number of any                                          1425 Ellsworth Ind. Blvd NW
                   government contract                                                Atlanta, GA 30318


 2.14.       State what the contract or                   Phone system
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months
                                                                                      NBS
             List the contract number of any                                          155 Willbrook Blvd.
                   government contract                                                Wayne, NJ 07470


 2.15.       State what the contract or                   Software
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months
                                                                                      NCR Hosted Solutions
             List the contract number of any                                          864 Sprin Street NW
                   government contract                                                Atlanta, GA 30308




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 3 of 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 19-61688-wlh                        Doc 88           Filed 08/30/19 Entered 08/30/19 17:07:47                Desc Main
                                                                     Document     Page 86 of 115
 Debtor 1 Eat Here Brands LLC                                                                Case number (if known)   19-61688-wlh
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.16.       State what the contract or                   lease for corporate
             lease is for and the nature of               office
             the debtor's interest
                                                          9755 Dogwood Road
                                                          Suite 200
                                                          Roswell, GA 30075
                  State the term remaining                month to month             PAVILION BUILDING LLC
                                                                                     PAVILION CENTER C/O EQUITABLE
             List the contract number of any                                         1215 HIGHTOWER TRAIL
                   government contract                                               Atlanta, GA 30350


 2.17.       State what the contract or                   Payroll Service
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1 year, 4 months
                                                                                     Paycor
             List the contract number of any                                         4811 Montgomery Rd
                   government contract                                               Cincinnati, OH 45212


 2.18.       State what the contract or                   Building contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                until construction
                                                          complete                   S.A.R. & Associates LLC
             List the contract number of any                                         73 Woodstock Road
                   government contract                                               Roswell, GA 30075


 2.19.       State what the contract or                   Software
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months                   Samnage North America
                                                                                     117 Edinburgh South
             List the contract number of any                                         Suite 100
                   government contract                                               Cary, NC 27511


 2.20.       State what the contract or                   Food
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Sysco
             List the contract number of any                                         1390 Enclave Parkway
                   government contract                                               Houston, TX 77077-2099


 2.21.       State what the contract or                   Software
             lease is for and the nature of
             the debtor's interest                                                   TeamViewer GmbH
                                                                                     PO Box 743135
                  State the term remaining                8 months                   Atlanta, GA 30374-3135
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 4 of 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 19-61688-wlh                        Doc 88           Filed 08/30/19 Entered 08/30/19 17:07:47                Desc Main
                                                                     Document     Page 87 of 115
 Debtor 1 Eat Here Brands LLC                                                                Case number (if known)   19-61688-wlh
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.22.       State what the contract or                   Fountain equipment
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                2 years, 6 months
                                                                                     The Coca-Cola Company
             List the contract number of any                                         1 Coca-Cola Plaza NW
                   government contract                                               Atlanta, GA 30313


 2.23.       State what the contract or                   Software
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                month to month             Wisely, Inc.
                                                                                     120 W Washington
             List the contract number of any                                         Suite G
                   government contract                                               Ann Arbor, MI 48104




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 5 of 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                 Desc Main
                                                                     Document     Page 88 of 115
 Fill in this information to identify the case:

 Debtor name         Eat Here Brands LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         19-61688-wlh
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:

    2.1      Babalu Atlanta #                  33 Peachtree Place NE                              SALUS 33                      D
             1 LLC                             Atlanta, GA 30309                                  PEACHTREE PLACE                E/F        3.385
                                                                                                                                G



    2.2      Babalu Atlanta                    944 Canton St.                                     THE KERNER                    D
             #2, LLC                           Roswell, GA 30075                                  FAMILY 944 CANTON              E/F        3.446
                                                                                                  L
                                                                                                                                G



    2.3      Babalu                            2808 7th Avenue South                              29 SEVEN LLC C/O              D
             Birmingham #1,                    Birmingham, AL 35233                               RETAIL SPC.                    E/F        3.3
             LLC
                                                                                                                                G



    2.4      Babalu Knoxville                  412 S. Gay Street                                  HATCHER HILL &                D
             #1, LLC                           Knoxville, TN 37902                                ASSOCIATES GP                  E/F        3.213
                                                                                                                                G



    2.5      Babalu Memphis                    2115 Madison Avenue                                OVERTON SQUARE                D
             #1, LLC                           Memphis, TN 38104                                  SOUTH LLC                      E/F        3.333
                                                                                                                                G




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                Desc Main
                                                                     Document     Page 89 of 115
 Debtor       Eat Here Brands LLC                                                            Case number (if known)   19-61688-wlh


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Babalu Memphis                    6450 Poplar Avenue                                 CROWNE CENTRE                D
             #2, LLC                           Memphis, TN 38119                                  LLC                           E/F       3.122
                                                                                                                               G



    2.7      Babalu, LLC                       622 Duling Avenue                                  FONDREN PLACE                D
                                               Jackson, MS 39216                                  DEVELOPMENT CO                E/F       3.175
                                                                                                                               G




Official Form 206H                                                            Schedule H: Your Codebtors                                   Page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                             Desc Main
                                                                     Document     Page 90 of 115


 Fill in this information to identify the case:

 Debtor name         Eat Here Brands LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         19-61688-wlh
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business
                                **These amounts include the consolidated revenue of all Eat Here Brands, LLC subsidiaries.
       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
                                                                                                                                               **
       From the beginning of the fiscal year to filing date:                                    Operating a business                               $11,794,214.43
       From 1/01/2019 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                          ** $20,657,401.82
       From 1/01/2018 to 12/31/2018
                                                                                                Other

                                                                                                                                                **$20,023,009.35
       For year before that:                                                                    Operating a business
       From 1/01/2017 to 12/31/2017
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
              Case 19-61688-wlh                     Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                              Desc Main
                                                                     Document     Page 91 of 115
 Debtor       Eat Here Brands LLC                                                                       Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               29 SEVEN LLC C/O RETAIL                                     5/13/2019                        $34,322.10          Secured debt
               SPECIALIST INC                                              5/23/2019                                            Unsecured loan repayments
               PO BOX 531247                                               6/12/2019                                            Suppliers or vendors
               Birmingham, AL 35253-1247                                                                                        Services
                                                                                                                                Other   Rent

       3.2.
               3 OWL INC                                                   5/16/2019                        $10,009.20          Secured debt
               135 AUBURN AVENUE NE                                                                                             Unsecured loan repayments
               FLOOR 2                                                                                                          Suppliers or vendors
               Atlanta, GA 30303
                                                                                                                                Services
                                                                                                                                Other

       3.3.
               900 SHORT NORTH LLC                                         5/15/2019                        $55,838.90          Secured debt
               3955 MONTGOMERY ROAD                                        6/14/2019                                            Unsecured loan repayments
               Cincinnati, OH 45212                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.4.
               ADVANTAGE LINEN & UNIFORM                                   5/1/2019                           $6,734.49         Secured debt
               751 ENTERPRISE DRIVE                                        5/14/2019                                            Unsecured loan repayments
               Lexington, KY 40510                                         5/23/2019                                            Suppliers or vendors
                                                                           5/29/2019
                                                                           6/24/2019
                                                                                                                                Services
                                                                           6/24/2019                                            Other

       3.5.
               ALABAMA ABC BEVERAGE                                        6/11/2019                        $21,505.84          Secured debt
               2911 SEVENTH AVENUE SOUTH                                   5/2/2019                                             Unsecured loan repayments
               Birmingham, AL 35233                                        5/31/2019                                            Suppliers or vendors
                                                                           5/17/2019
                                                                           5/23/2019
                                                                                                                                Services
                                                                           6/6/2019                                             Other
                                                                           6/20/2019
                                                                           6/28/2019
                                                                           5/10/2019
       3.6.
               ALCOHOLIC BEVERAGE CONTROL                                  5/2/2019                         $44,496.35          Secured debt
               MISSISSIPPI DEPT OF REVENUE                                 5/9/2019                                             Unsecured loan repayments
               PO BOX 540                                                  5/15/2019                                            Suppliers or vendors
               Madison, MS 39130                                           5/22/2019                                            Services
                                                                           5/23/2019
                                                                           5/24/2019                                            Other
                                                                           5/28/2019
                                                                           5/30/2019
                                                                           5/30/2019
                                                                           6/5/2019
                                                                           6/5/2019
                                                                           6/12/2019
                                                                           6/13/2019
                                                                           6/19/2019
                                                                           6/26/2019




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case 19-61688-wlh                     Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                              Desc Main
                                                                     Document     Page 92 of 115
 Debtor       Eat Here Brands LLC                                                                       Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.7.
               ALPHAGRAPHICS                                               5/1/2019                         $12,634.62          Secured debt
               788 E BROOKHAVEN CIRCLE                                     5/23/2019                                            Unsecured loan repayments
               Memphis, TN 38117                                           6/14/2019                                            Suppliers or vendors
                                                                           6/24/2019
                                                                           6/24/2019
                                                                                                                                Services
                                                                                                                                Other

       3.8.
               AMERICAN EXPRESS                                            5/14/2019                        $76,527.42          Secured debt
               PO BOX 360001                                               5/24/2019                                            Unsecured loan repayments
               Fort Lauderdale, FL 33336                                   6/12/2019
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.9.
               AMERIPRIDE SERVICE INC                                      5/1/2019                         $11,512.25          Secured debt
               PO BOX 308                                                  5/3/2019                                             Unsecured loan repayments
               Bemidji, MN 56619                                           5/14/2019                                            Suppliers or vendors
                                                                           5/23/2019
                                                                           5/29/2019
                                                                                                                                Services
                                                                           6/24/2019                                            Other
                                                                           6/24/2019
       3.10
       .    AMERIPRIDE SERVICES INC                                        5/1/2019                         $39,102.17          Secured debt
               PO BOX 1564                                                 5/1/2019                                             Unsecured loan repayments
               Bemidji, MN 56619-1564                                      5/3/2019                                             Suppliers or vendors
                                                                           5/9/2019
                                                                           5/14/2019
                                                                                                                                Services
                                                                           5/14/2019                                            Other
                                                                           5/23/2019
                                                                           5/23/2019
                                                                           5/29/2019
                                                                           5/29/2019
                                                                           6/24/2019
                                                                           6/24/2019
                                                                           6/24/2019
                                                                           6/24/2019
                                                                           6/24/2019
                                                                           6/24/2019
       3.11
       .    AMERIPRIDE SERVICES INC                                        5/1/2019                         $16,543.16          Secured debt
               PO BOX 249                                                  5/14/2019                                            Unsecured loan repayments
               Bemidji, MN 56619                                           5/23/2019                                            Suppliers or vendors
                                                                           5/29/2019
                                                                           6/24/2019
                                                                                                                                Services
                                                                           6/24/2019                                            Other

       3.12
       .    AMERITECH FACILITY SERVICES                                    6/25/2019                          $8,577.20         Secured debt
               1500 AIRPORT DRIVE                                                                                               Unsecured loan repayments
               Ball Ground, GA 30107                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                              Desc Main
                                                                     Document     Page 93 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.13
       .    ASSOCIATED FOOD EQUIP &                                        5/23/2019                          $9,151.76         Secured debt
               SUPPLIES                                                    5/29/2019                                            Unsecured loan repayments
               10381 EXPRESS DRIVE                                         6/24/2019                                            Suppliers or vendors
               Gulfport, MS 39503                                          6/24/2019
                                                                                                                                Services
                                                                                                                                Other

       3.14
       .    ATHENS DISTRIBUTING CO OF                                      5/1/2019                         $27,860.04          Secured debt
               MEMPHIS                                                     5/1/2019                                             Unsecured loan repayments
               PO BOX 1333                                                 5/2/2019                                             Suppliers or vendors
               Memphis, TN 38101-1333                                      5/2/2019
                                                                           5/7/2019
                                                                                                                                Services
                                                                           5/7/2019                                             Other
                                                                           5/8/2019
                                                                           5/9/2019
                                                                           5/9/2019
                                                                           5/13/2019
                                                                           5/14/2019
                                                                           5/14/2019
                                                                           5/15/2019
                                                                           5/16/2019
                                                                           5/16/2019
                                                                           5/20/2019
                                                                           5/21/2019
                                                                           5/21/2019
                                                                           5/22/2019
                                                                           5/23/2019
                                                                           5/23/2019
                                                                           5/29/2019
                                                                           5/29/2019
                                                                           5/29/2019
                                                                           5/30/2019
                                                                           5/30/2019
                                                                           6/3/2019
                                                                           6/3/2019
                                                                           6/4/2019
                                                                           6/4/2019
                                                                           6/6/2019
                                                                           6/6/2019
                                                                           6/10/2019
                                                                           6/11/2019
                                                                           6/11/2019
                                                                           6/12/2019
                                                                           6/14/2019
                                                                           6/14/2019
                                                                           6/17/2019
                                                                           6/17/2019
                                                                           6/18/2019
                                                                           6/18/2019
                                                                           6/19/2019
                                                                           6/19/2019
                                                                           6/20/2019
                                                                           6/20/2019
                                                                           6/25/2019




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                              Desc Main
                                                                     Document     Page 94 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.15
       .    FreshPoint                                                                                        $7,500.00         Secured debt
               711 North Orlando Avenue, Suite 201                                                                              Unsecured loan repayments
               Maitland, FL 32751                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.16
       .    Global Cash Card                                               5/17/2019                        $15,000.00          Secured debt
               3972 Barranca Pkwy, Suite J610                              5/24/2019                                            Unsecured loan repayments
               Irvine, CA 92606                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Paycard Solutions

       3.17
       .    BEVERAGE CONTROL INC                                           5/2/2019                           $7,463.27         Secured debt
               PO BOX 52888                                                5/9/2019                                             Unsecured loan repayments
               Knoxville, TN 37950                                         5/16/2019                                            Suppliers or vendors
                                                                           5/23/2019
                                                                           5/30/2019
                                                                                                                                Services
                                                                           6/6/2019                                             Other
                                                                           6/13/2019
                                                                           6/20/2019
                                                                           6/27/2019
       3.18
       .    CREATION GARDENS                                               5/1/2019                         $21,332.33          Secured debt
               2055 NELSON MILLER PARKWAY                                  5/14/2019                                            Unsecured loan repayments
               Louisville, KY 40223                                        5/23/2019                                            Suppliers or vendors
                                                                           5/29/2019
                                                                           6/18/2019
                                                                                                                                Services
                                                                           6/28/2019                                            Other
                                                                           6/28/2019
       3.19
       .    CROWNE CENTRE LLC                                              5/13/2019                        $37,089.20          Secured debt
               5101 WHEELIS DR STE 320                                     6/12/2019                                            Unsecured loan repayments
               Memphis, TN 38117                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.20
       .    DIGITEL CORPORATION                                            5/1/2019                           $9,979.10         Secured debt
               2600 SCHOOL DR                                              6/14/2019                                            Unsecured loan repayments
               Atlanta, GA 30360                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.21
       .    EASTERN ALLIANCE INSURANCE                                     5/13/2019                        $21,373.00          Secured debt
               GROU                                                        6/24/2019                                            Unsecured loan repayments
               PO BOX 788961                                               6/24/2019                                            Suppliers or vendors
               Philadelphia, PA 19178-8961                                                                                      Services
                                                                                                                                Other   Insurance




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                              Desc Main
                                                                     Document     Page 95 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.22
       .    ECOLAB INSTITUTIONAL                                           5/1/2019                         $10,893.39          Secured debt
               PO BOX 32027                                                5/3/2019                                             Unsecured loan repayments
               New York, NY 10087-2027                                     5/13/2019                                            Suppliers or vendors
                                                                           5/14/2019
                                                                           5/23/2019
                                                                                                                                Services
                                                                           5/29/2019                                            Other
                                                                           6/14/2019
                                                                           6/18/2019
       3.23
       .    EDWARD DON AND CO                                              5/1/2019                         $30,756.85          Secured debt
               2562 PAYSPHERE CIRCLE                                       5/13/2019                                            Unsecured loan repayments
               Chicago, IL 60674                                           5/14/2019                                            Suppliers or vendors
                                                                           5/23/2019
                                                                           5/29/2019
                                                                                                                                Services
                                                                                                                                Other

       3.24
       .    EIGHTH SOUTH LLC                                               5/13/19                          $10,000.00          Secured debt
               114 S COURT SQUARE                                                                                               Unsecured loan repayments
               McMinnville, TN 37110                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.25
       .    EMG3, LLC                                                      5/3/2019                         $14,630.00          Secured debt
               380 US ROUTE 1                                              6/14/2019                                            Unsecured loan repayments
               Falmouth, ME                                                6/24/2019                                            Suppliers or vendors
                                                                           6/24/2019
                                                                                                                                Services
                                                                                                                                Other

       3.26
       .    EMPIRE DISTRIBUTION INC                                        5/1/2019                           $8,232.59         Secured debt
               ATLANTA-ACH                                                 5/8/2019                                             Unsecured loan repayments
               3755 ATLANTA INDUSTRIAL                                     5/15/2019                                            Suppliers or vendors
               PARKWAY                                                     5/22/2019
               Atlanta, GA 30331                                           5/28/2019
                                                                                                                                Services
                                                                           5/29/2019                                            Other
                                                                           6/6/2019
                                                                           6/6/2019
                                                                           6/12/2019
                                                                           6/19/2019
                                                                           6/26/2019
       3.27
       .    Empire Distributors of TN, Inc. - Knoxvi                       5/2/2019                           $8,582.85         Secured debt
               PO BOX 50188                                                5/9/2019                                             Unsecured loan repayments
               Knoxville, TN 37950                                         5/16/2019                                            Suppliers or vendors
                                                                           5/23/2019
                                                                           5/24/2019
                                                                                                                                Services
                                                                           5/30/2019                                            Other
                                                                           6/13/2019
                                                                           6/27/2019
       3.28
       .    FONDREN PLACE DEVELOPMENT CO                                   5/13/19                          $22,823.00          Secured debt
               2906 N STATE ST                                             6/12/19                                              Unsecured loan repayments
               SUITE 201                                                                                                        Suppliers or vendors
               Jackson, MS 39216                                                                                                Services
                                                                                                                                Other   Rent




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                              Desc Main
                                                                     Document     Page 96 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.29
       .    FORESTWOOD FARM INC                                            6/19/2019                        $19,928.41          Secured debt
               PO BOX 310728                                               6/21/2019                                            Unsecured loan repayments
               Birmingham, AL 35231-0728                                   6/26/2019                                            Suppliers or vendors
                                                                           6/18/2019
                                                                                                                                Services
                                                                                                                                Other

       3.30
       .    FRESHPOINT OVERTON 55050                                       5/13/2019                          $7,744.40         Secured debt
               740 MASSMAN DRIVE                                           5/23/2019                                            Unsecured loan repayments
               Nashville, TN 37210                                         5/29/2019                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.31
       .    FS-1 CONCEPTS LLC                                              5/23/2019                          $7,356.56         Secured debt
               14 STRATFORD CT                                             6/24/2019                                            Unsecured loan repayments
               Hattiesburg, MS 39402                                       6/24/2019                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.32
       .    GEORGIA CROWN DISTRIBUTING CO                                  5/2/2019                         $12,317.18          Secured debt
               100 GEORGIA CROWN DRIVE                                     5/9/2019                                             Unsecured loan repayments
               McDonough, GA 30253                                         5/16/2019                                            Suppliers or vendors
                                                                           5/23/2019
                                                                           5/30/2019
                                                                                                                                Services
                                                                           6/6/2019                                             Other
                                                                           6/13/2019
                                                                           6/20/2019
                                                                           6/27/2019
       3.33
       .    Georgia Power                                                  5/3/2019                         $14,088.48          Secured debt
               96 Annex                                                    5/31/2019                                            Unsecured loan repayments
               Atlanta, GA 30396                                           6/25/2019                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.34
       .    HATCHER HILL & ASSOCIATES GP                                   5/13/2019                        $34,674.99          Secured debt
               311 S Weisgarber Road                                       5/29/2019                                            Unsecured loan repayments
               Knoxville, TN 37919                                         6/12/2019                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   RENT

       3.35
       .    HOSPITALITY CONTROL SOLUTIONS                                  5/14/2019                        $11,839.50          Secured debt
               PO BOX 40308                                                5/29/2019                                            Unsecured loan repayments
               Nashville, TN 37204-0308                                    5/31/2019                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   SOFTWARE




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                              Desc Main
                                                                     Document     Page 97 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.36
       .    INLAND SEAFOOD                                                 5/1/2019                        $141,050.73          Secured debt
               PO BOX 450669                                               5/3/2019                                             Unsecured loan repayments
               Atlanta, GA 31145                                           5/13/2019                                            Suppliers or vendors
                                                                           5/14/2019
                                                                           5/23/2019
                                                                                                                                Services
                                                                           5/29/2019                                            Other
                                                                           6/14/2019
                                                                           6/24/2019
                                                                           6/24/2019
                                                                           6/24/2019
                                                                           6/24/2019
                                                                           6/24/2019
                                                                           6/24/2019
                                                                           6/24/2019
       3.37
       .    IPFS CORPORATION                                               5/13/2019                          $1,126.43         Secured debt
               PO BOX 730223                                               6/24/2019                                            Unsecured loan repayments
               Dallas, TX 75373-0223                                       6/24/2019                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   INSURANCE

       3.38
       .    JEFFERSON COUNTY DEPT OF                                       5/10/2019                          $8,770.72         Secured debt
               REVENUE                                                     6/14/2019                                            Unsecured loan repayments
               REVENUE ALCOHOL BEV TAX                                                                                          Suppliers or vendors
               REPORT                                                                                                           Services
               PO BOX 12025
               Birmingham, AL 35283-2025                                                                                        Other   TAXES

       3.39
       .    KUB                                                            5/13/2019                        $13,785.00          Secured debt
               PO BOX 59017                                                6/11/2019                                            Unsecured loan repayments
               Knoxville, TN 37950-9017                                                                                         Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.40
       .    LANE MECHANICAL INC.                                           6/12/19                            $7,006.00         Secured debt
               515 INDUSTRIAL WAY NORTH                                                                                         Unsecured loan repayments
               Dallas, GA 30132                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.41
       .    LAMAR COMPANIES                                                5/23/2019                          $7,725.00         Secured debt
               PO BOX 96030                                                6/24/2019                                            Unsecured loan repayments
               Baton Rouge, LA 70896                                       6/24/2019                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.42
       .    LOOMIS                                                         5/1/2019                         $20,163.54          Secured debt
               DEPT 0757 PO BOX 120757                                     6/14/2019                                            Unsecured loan repayments
               Dallas, TX 75312-0757                                       6/24/2019                                            Suppliers or vendors
                                                                           6/24/2019
                                                                                                                                Services
                                                                                                                                Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                              Desc Main
                                                                     Document     Page 98 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.43
       .    MELISSA LIBBY & ASSOCIATES INC                                 6/24/19                          $14,000.00          Secured debt
               1425 ELLSWORTH INDUSTRIAL BLVD                              6/24/19                                              Unsecured loan repayments
               SUITE 10                                                                                                         Suppliers or vendors
               Atlanta, GA 30318
                                                                                                                                Services
                                                                                                                                Other

       3.44
       .    MEMPHIS LIGHT GAS & WATER DIV                                  5/13/2019                        $15,785.00          Secured debt
               PO BOX 388                                                  5/23/2019                                            Unsecured loan repayments
               Memphis, TN 38145-0388                                      5/31/2019                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.45
       .    MISSISSIPPI DEPT OF REVENUE                                    5/15/2019                        $66,773.64          Secured debt
               PO BOX 1033                                                 6/18/2019                                            Unsecured loan repayments
               Jackson, MS 39215                                           5/22/2019                                            Suppliers or vendors
                                                                           6/21/2019                                            Services
                                                                                                                                Other   TAXES

       3.46
       .    MPE SERVICES LLC                                               5/23/2019                          $8,916.30         Secured debt
               7787 HIGHWAY 75                                             5/29/2019                                            Unsecured loan repayments
               Birmingham, AL 35216                                        6/24/2019                                            Suppliers or vendors
                                                                           6/24/2019
                                                                                                                                Services
                                                                                                                                Other

       3.47
       .    NUCO2 LLC                                                      5/1/2019                         $11,828.81          Secured debt
               PO BOX 417902                                               5/3/2019                                             Unsecured loan repayments
               Boston, MA 02241-7902                                       5/14/2019                                            Suppliers or vendors
                                                                           5/23/2019
                                                                           5/29/2019
                                                                                                                                Services
                                                                           6/14/2019                                            Other
                                                                           6/24/2019
                                                                           6/24/2019
       3.48
       .    OBSIDIAN PUBLIC RELATIONS LLC                                  5/1/2019                         $11,200.00          Secured debt
               493 S MAIN ST                                               5/23/2019                                            Unsecured loan repayments
               SUITE 101                                                   6/24/2019                                            Suppliers or vendors
               Memphis, TN 38103                                           6/24/2019
                                                                                                                                Services
                                                                                                                                Other

       3.49
       .    ORIGIN BANK                                                    5/7/2019                        $270,163.90          Secured debt
               1101 ROC LANE                                               5/14/2019                                            Unsecured loan repayments
               Ruston, LA 71270                                            5/24/2019
                                                                                                                                Suppliers or vendors
                                                                           5/28/2019
                                                                           5/28/2019
                                                                                                                                Services
                                                                           5/28/2019                                            Other
                                                                           6/7/2019
                                                                           6/14/2019
                                                                           6/24/2019
                                                                           6/27/2019
                                                                           6/27/2019
                                                                           6/27/2019



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 9
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88            Filed 08/30/19 Entered 08/30/19 17:07:47                              Desc Main
                                                                     Document     Page 99 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.50
       .    OVERTON SQUARE LLC                                             5/13/2019                        $35,252.00          Secured debt
               PO BOX 171247                                               6/12/2019                                            Unsecured loan repayments
               Memphis, TN 38187-1247                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   RENT

       3.51
       .    PAVILION BUILDING LLC                                          5/13/2019                          $9,255.30         Secured debt
               PAVILION CENTER C/O EQUITABLE                               6/11/2019                                            Unsecured loan repayments
               MANAGEMENT                                                                                                       Suppliers or vendors
               1215 HIGHTOWER TRAIL SUITE B-200                                                                                 Services
               Atlanta, GA 30350
                                                                                                                                Other   RENT

       3.52
       .    Phoenix Wholesale Food Service                                 6/18/19                            $7,036.68         Secured debt
               16 Forest Parkway Building J                                                                                     Unsecured loan repayments
               Forest Park, GA 30297                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.53
       .    PIAZZA PRODUCE & SPECIALTY                                     5/1/2019                           $6,530.29         Secured debt
               FOODS                                                       5/3/2019                                             Unsecured loan repayments
               PO BOX 68931                                                5/13/2019                                            Suppliers or vendors
               Indianapolis, IN 46268-0931                                 5/14/2019
                                                                           5/23/2019
                                                                                                                                Services
                                                                           5/29/2019                                            Other

       3.54
       .    PINNACLE TRUST                                                 5/16/19                          $32,124.99          Secured debt
               ATT: JEREMY NELSON                                                                                               Unsecured loan repayments
               101 PORT ST. SUITE 200
                                                                                                                                Suppliers or vendors
               Madison, MS 39110
                                                                                                                                Services
                                                                                                                                Other

       3.55
       .    ROBERTSON PRODUCE MISSISSIPPI                                  6/18/2019                        $13,014.91          Secured debt
               1530 BUSINESS PARK DRIVE                                                                                         Unsecured loan repayments
               Clinton, MS 39056                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.56
       .    SALUS 33 PEACHTREE PLACE C/O                                   5/13/2019                        $38,489.94          Secured debt
               NINE 15 MID                                                 6/12/2019                                            Unsecured loan repayments
               915 WEST PEACHTREE STREET NW                                                                                     Suppliers or vendors
               Atlanta, GA 30309                                                                                                Services
                                                                                                                                Other   RENT

       3.57
       .    SAR & ASSOCIATES INC                                           5/2/2019                         $91,280.00          Secured debt
               73 WOODSTOCK ROAD                                                                                                Unsecured loan repayments
               Roswell, GA 30075-3560                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 10
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                         Desc Main
                                                          Document     Page 100 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.58
       .    SAT/DT, LLC                                                    5/7/2019                           $9,075.94         Secured debt
               C/O Ashley Tillman                                                                                               Unsecured loan repayments
               600 JEFFERSON DRIVE                                                                                              Suppliers or vendors
               Charlotte, NC 28270-5348                                                                                         Services
                                                                                                                                Other   RENT

       3.59
       .    SOUTHERN GLAZERS                                               5/1/2019                           $8,519.72         Secured debt
               6290 SHELBY VIEW                                            5/3/2019                                             Unsecured loan repayments
               Memphis, TN 38134                                           5/3/2019                                             Suppliers or vendors
                                                                           5/7/2019
                                                                           5/9/2019
                                                                                                                                Services
                                                                           5/10/2019                                            Other
                                                                           5/10/2019
                                                                           5/14/2019
                                                                           5/15/2019
                                                                           5/17/2019
                                                                           5/17/2019
                                                                           5/21/2019
                                                                           5/22/2019
                                                                           5/24/2019
                                                                           5/24/2019
                                                                           5/28/2019
                                                                           5/29/2019
                                                                           5/31/2019
                                                                           5/31/2019
                                                                           6/4/2019
                                                                           6/5/2019
                                                                           6/7/2019
                                                                           6/7/2019
                                                                           6/11/2019
                                                                           6/12/2019
                                                                           6/13/2019
                                                                           6/14/2019
                                                                           6/18/2019
                                                                           6/19/2019
                                                                           6/21/2019
                                                                           6/25/2019
                                                                           6/26/2019
                                                                           6/28/2019
                                                                           6/28/2019
       3.60
       .    SOUTHERN GLAZER'S OF KY                                        5/2/2019                           $9,616.14         Secured debt
               PO BOX 991399                                               5/8/2019                                             Unsecured loan repayments
               Louisville, KY 40269                                        5/15/2019                                            Suppliers or vendors
                                                                           5/22/2019
                                                                           5/29/2019
                                                                                                                                Services
                                                                           6/7/2019                                             Other
                                                                           6/12/2019
                                                                           6/21/2019
                                                                           6/26/2019
       3.61
       .    SUNRISE PRODUCE JACKSON                                        5/3/2019                         $11,909.21          Secured debt
               4229 MICHAEL AVALON ST                                      5/14/2019                                            Unsecured loan repayments
               Jackson, MS 39209                                           5/23/2019                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 11
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                         Desc Main
                                                          Document     Page 101 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.62
       .    SYSCO ATLANTA - 684530                                         5/1/2019                         $18,497.46          Secured debt
               1000 SYSCO DRIVE                                            5/13/2019                                            Unsecured loan repayments
               Calera, AL 35040                                            5/14/2019                                            Suppliers or vendors
                                                                           5/23/2019
                                                                           5/29/2019
                                                                                                                                Services
                                                                                                                                Other

       3.63
       .    SYSCO BIRMINGHAM- 621110                                       5/1/2019                         $35,310.74          Secured debt
               1000 SYSCO DRIVE                                            5/13/2019                                            Unsecured loan repayments
               Calera, AL 35040                                            5/14/2019                                            Suppliers or vendors
                                                                           5/23/2019
                                                                           5/29/2019
                                                                                                                                Services
                                                                           6/14/2019                                            Other

       3.64
       .    SYSCO CHAPEL HILL 892331                                       5/1/2019                         $10,007.44          Secured debt
               PO BOX 96                                                   5/14/2019                                            Unsecured loan repayments
               Concord, NC 28026                                           5/23/2019                                            Suppliers or vendors
                                                                           5/29/2019
                                                                                                                                Services
                                                                                                                                Other

       3.65
       .    SYSCO KNOXVILLE LLC 195891                                     5/1/2019                         $47,191.59          Secured debt
               900 TENNESSEE AVENUE                                        5/3/2019                                             Unsecured loan repayments
               Knoxville, TN 37921-2630                                    5/13/2019                                            Suppliers or vendors
                                                                           5/14/2019
                                                                           5/23/2019
                                                                                                                                Services
                                                                           5/29/2019                                            Other
                                                                           6/14/2019
       3.66
       .    SYSCO JACKSON LLC 659433                                       5/1/2019                         $48,265.77          Secured debt
               PO BOX 2900                                                 5/3/2019                                             Unsecured loan repayments
               Jackson, MS 39207-2900                                      5/13/2019                                            Suppliers or vendors
                                                                           5/14/2019
                                                                           5/23/2019
                                                                                                                                Services
                                                                           5/29/2019                                            Other
                                                                           6/14/2019
       3.67
       .    SYSCO LEXINGTON LLC 233668                                     5/13/2019                        $13,860.95          Secured debt
               900 TENNESSEE AVENUE                                        5/14/2019                                            Unsecured loan repayments
               Knoxville, TN 37921-2630                                    5/23/2019                                            Suppliers or vendors
                                                                           5/29/2019
                                                                                                                                Services
                                                                                                                                Other

       3.68
       .    SYSCO MEMPHIS EAST 816355                                      5/1/2019                         $30,115.48          Secured debt
               4359 B F GOODRICH                                           5/3/2019                                             Unsecured loan repayments
               Memphis, TN 38118-7306                                      5/13/2019                                            Suppliers or vendors
                                                                           5/14/2019
                                                                           5/23/2019
                                                                                                                                Services
                                                                           5/29/2019                                            Other

       3.69
       .    SYSCO OVERTON-741751                                           5/1/2019                         $41,780.10          Secured debt
               4359 B.F GOODRICH BLVD                                      5/3/2019                                             Unsecured loan repayments
               Memphis, TN 38118-7306                                      5/13/2019                                            Suppliers or vendors
                                                                           5/14/2019
                                                                           5/23/2019
                                                                                                                                Services
                                                                           5/29/2019                                            Other


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 12
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                         Desc Main
                                                          Document     Page 102 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.70
       .    THE KERNER FAMILY 944 CANTON                                   5/13/2019                        $16,000.00          Secured debt
               LLC                                                         6/12/2019                                            Unsecured loan repayments
               90 CLIFFSIDE CROSSING                                                                                            Suppliers or vendors
               Atlanta, GA 30350                                                                                                Services
                                                                                                                                Other   RENT

       3.71
       .    TRITEX SERVICES                                                5/1/2019                         $10,711.61          Secured debt
               PO BOX 962                                                  5/23/2019                                            Unsecured loan repayments
               Trenton, GA 30752                                           5/29/2019                                            Suppliers or vendors
                                                                           6/24/2019
                                                                           6/24/2019
                                                                                                                                Services
                                                                                                                                Other

       3.72
       .    WAVERLY RETAIL LLC                                             5/13/2019                          $6,488.13         Secured debt
               301 S COLLEGE ST                                                                                                 Unsecured loan repayments
               SUITE 2800                                                                                                       Suppliers or vendors
               Charlotte, NC 28202-6021
                                                                                                                                Services
                                                                                                                                Other

       3.73
       .    WEBBMASON MARKETING                                            6/24/2019                          $9,539.38         Secured debt
               PO BOX 62414                                                6/24/2019                                            Unsecured loan repayments
               Baltimore, MD 21264-2414                                                                                         Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                         Desc Main
                                                          Document     Page 103 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.74
       .    WEST TENNESSEE CROWN DIST CO                                   5/1/2019                         $36,716.06          Secured debt
               7625 APPLING CENTER DRIVE                                   5/2/2019                                             Unsecured loan repayments
               Memphis, TN 38133-5069                                      5/6/2019                                             Suppliers or vendors
                                                                           5/6/2019
                                                                           5/8/2019
                                                                                                                                Services
                                                                           5/10/2019                                            Other
                                                                           5/13/2019
                                                                           5/13/2019
                                                                           5/15/2019
                                                                           5/17/2019
                                                                           5/20/2019
                                                                           5/20/2019
                                                                           5/22/2019
                                                                           5/24/2019
                                                                           5/28/2019
                                                                           5/28/2019
                                                                           5/29/2019
                                                                           5/31/2019
                                                                           6/3/2019
                                                                           6/3/2019
                                                                           6/5/2019
                                                                           6/7/2019
                                                                           6/10/2019
                                                                           6/10/2019
                                                                           6/12/2019
                                                                           6/14/2019
                                                                           6/17/2019
                                                                           6/17/2019
                                                                           6/19/2019
                                                                           6/21/2019
                                                                           6/24/2019
                                                                           6/24/2019
                                                                           6/26/2019
                                                                           6/28/2019
       3.75
       .    WISELY INC                                                     5/31/2019                          $8,058.23         Secured debt
               120 WEST WASHINGTON                                                                                              Unsecured loan repayments
               SUITE G 2ND FLOOR                                                                                                Suppliers or vendors
               Ann Arbor, MI 48104                                                                                              Services
                                                                                                                                Other   SOFTWARE

       3.76
       .    WORLD SPICE INC                                                5/1/2019                         $18,357.74          Secured debt
               217 DAMERON AVENUE                                          5/3/2019                                             Unsecured loan repayments
               Knoxville, TN 37917                                         6/24/2019                                            Suppliers or vendors
                                                                           6/24/2019
                                                                                                                                Services
                                                                                                                                Other

       3.77
       .    ZURICH NORTH AMERICA                                           5/13/19                          $10,592.89          Secured debt
               PO BOX 4664                                                                                                      Unsecured loan repayments
               Carol Stream, IL 60197-4664                                                                                      Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   INSURANCE


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 14
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case 19-61688-wlh                     Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                        Desc Main
                                                          Document     Page 104 of 115
 Debtor       Eat Here Brands LLC                                                                       Case number (if known) 19-61688-wlh



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Abelardo Ruiz                                               3/29/19                         $142,873.13         Compensation and expense
               875 HUNTERHILL DRIVE                                        3/18/19                                             reimbursement.
               Roswell, GA 30075                                           3/4/19
               Former CEO                                                  2/15/19
                                                                           2/4/19
                                                                           1/18/19
                                                                           1/7/19
                                                                           12/24/18
                                                                           12/10/18
                                                                           11/26/18
                                                                           11/9/18
                                                                           10/29/18
                                                                           10/15/18
                                                                           10/1/18
                                                                           9/17/18
                                                                           8/31/18
                                                                           8/20/18
                                                                           8/6/18
                                                                           8/22/2018
                                                                           8/22/2018
                                                                           10/12/2018
                                                                           11/28/2018
                                                                           12/28/2018
                                                                           1/17/2019
                                                                           2/22/2019
                                                                           3/19/2019
                                                                           4/9/2019
                                                                           4/17/2019
                                                                           4/29/2019
                                                                           5/13/2019

       4.2.    RONALD ROSATI                                               10/3/2018                          $7,036.40        Expense reimbursement for
               201 FLORIDA ALE                                             10/24/2018                                          board expenses.
               Dunedin, FL 34698                                           11/16/2018
               Manager                                                     1/8/2019
                                                                           1/30/2019
                                                                           4/17/2019
                                                                           4/24/2019
                                                                           5/31/2019

       4.3.    AL ROBERTS                                                  11/9/18                          $41,892.25         Compensation and expense
               2466 SOUTHWOOD RD                                           10/29/18                                            reimbursement
               39211                                                       10/15/18
               Co-Founder, Vice President, and Board                       10/1/18
               member                                                      9/17/18
                                                                           8/31/18
                                                                           8/20/18
                                                                           8/6/18
                                                                           2/1/2019
                                                                           4/24/2019




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 15
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case 19-61688-wlh                     Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                        Desc Main
                                                          Document     Page 105 of 115
 Debtor       Eat Here Brands LLC                                                                       Case number (if known) 19-61688-wlh



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.4.    William Latham                                              11/9/18                          $42,887.99         Compensation and expense
                                                                           10/29/18                                            reimbursement
               Co-Founder and Board Member                                 10/15/18
                                                                           10/1/18
                                                                           9/17/18
                                                                           8/31/18
                                                                           8/20/18
                                                                           8/6/18
                                                                           12/12/2018
                                                                           4/24/2019

       4.5.    STEVEN ROCKWELL                                             3/29/19                          $29,192.20         Compensation and expense
               2919 CAVES ROAD                                             3/18/19                                             reimbursement
               Owings Mills, MD 21117                                      3/4/19
               Executive Chairman                                          2/15/19
                                                                           2/4/19
                                                                           1/18/19
                                                                           1/7/19
                                                                           12/24/18
                                                                           12/10/18
                                                                           11/26/18
                                                                           11/9/18
                                                                           10/29/18
                                                                           10/15/18
                                                                           10/1/18
                                                                           9/17/18
                                                                           8/31/18
                                                                           8/20/18
                                                                           8/6/18
                                                                           10/24/2018
                                                                           1/30/2019
                                                                           4/24/2019
                                                                           6/11/19

       4.6.    Timothy A. Walker                                           3/29/19                         $102,110.98         Compensation and expense
               7735 NESBIT FERRY RD                                        3/18/19                                             reimbursement
               Atlanta, GA 30350                                           3/4/19
               Chief Financial Officer                                     2/15/19
                                                                           2/4/19
                                                                           1/18/19
                                                                           1/7/19
                                                                           12/24/18
                                                                           12/10/18
                                                                           11/26/18
                                                                           11/9/18
                                                                           10/29/18
                                                                           10/15/18
                                                                           10/1/18
                                                                           9/17/18
                                                                           8/31/18
                                                                           8/20/18
                                                                           8/6/18
                                                                           12/7/18

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case 19-61688-wlh                     Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                           Desc Main
                                                          Document     Page 106 of 115
 Debtor       Eat Here Brands LLC                                                                           Case number (if known) 19-61688-wlh



       None
       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case               Court or agency's name and              Status of case
               Case number                                                                    address
       7.1.    Employers Preferred                               Claim of unpaid              State Court of Fulton                    Pending
               Insurance Company Inc vs                          insurance                    County                                   On appeal
               Eat Here Brands LLC                               premium                      185 Central Avenue SW                      Concluded
               19EV002117                                                                     Atlanta, GA 30303


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss               Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 17
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                        Desc Main
                                                          Document     Page 107 of 115
 Debtor        Eat Here Brands LLC                                                                       Case number (if known) 19-61688-wlh




       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Arnall Golden Gregory LLP                                                                                      6/25/2019
                171 17th Street, NW                                                                                            7/17/2019
                Suite 2100                                                                                                     7/22/2019
                Atlanta, GA 30363                                                                                              7/26/2019         $233,736.00

                Email or website address
                www.agg.com

                Who made the payment, if not debtor?




       11.2.    GGG Partners, LLC                                                                                              7/17/2019
                3155 Roswell Rd, Suite 120                                                                                     7/22/2019
                Atlanta, GA 30305                                                                                              7/26/2019           $95,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.3.    Omni
                5955 De Soto Ave, Suite 100
                Woodland Hills, CA 91367                                                                                       7/26/19               $5,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.4.    Schulten Ward Turner &
                Weiss
                260 Peachtree St NW                                                                                            7/12/19
                Suite 2700                                                                                                     7/22/19
                Atlanta, GA 30303                                                                                              7/26/19             $10,820.11

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers          Total amount or
                                                                                                                      were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 18
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                        Desc Main
                                                          Document     Page 108 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was               Last balance
                Address                                          account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 19
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                     Desc Main
                                                          Document     Page 109 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh




       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 20
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                            Desc Main
                                                          Document     Page 110 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Restaurant                                       EIN:
             Table 100                                                                                                      XX-XXXXXXX
             100 Ridge Way
             Flowood, MS 39232                                                                                 From-To      9/10/12 - 12/31/18

    25.2.                                                     Restaurant                                       EIN:
             Five Guys Burgers and Fries                                                                                    XX-XXXXXXX
             4500 I-55 North
             Suite 221                                                                                         From-To      09/10/12 - 05/01/16
             Jackson, MS 39211

    25.3.                                                     Restaurant                                       EIN:
             Interim LLC                                                                                                    XX-XXXXXXX
             4500 I-55 North
             Suite 221                                                                                         From-To      09/10/12 - 09/04/17
             Jackson, MS 39211


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Quatrro Business Support Services                                                                                          07/31/2017 -
                    1850 Parkway Place                                                                                                         07/30/2019
                    Suite 1100
                    Marietta, GA 30067
       26a.2.       Bennett Thrasher, LLP                                                                                                      07/31/2017 -
                    3300 Riverwood Parkway SE                                                                                                  07/30/2019
                    Suite 700
                    Atlanta, GA 30339

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Bennett Thrasher, LLP                                                                                                      07/31/2017 -
                    3300 Riverwood Parkway SE                                                                                                  07/30/2019
                    Suite 700
                    Atlanta, GA 30339

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 21
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                      Desc Main
                                                          Document     Page 111 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Quatrro Business Support Services
                    1850 Parkway Place
                    Suite 1100
                    Marietta, GA 30067

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  Origin Bank
                    3921 Elm Street
                    Choudrant, LA 71227
       26d.2.       Fora Financial
                    519 8th Avenue
                    11th Floor
                    New York, NY 10018

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       David Roberts                                  4501 I55 North                                      Manager, Co-Founder, Vice             12.9
                                                      Suite 221                                           President, and Board member
                                                      Jackson, MS 39212
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ned Lidvall                                    1850 Marcia Overlook Drive                          Manager, Chief Executive              0.9
                                                      Cumming, GA 30041                                   Officer

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       William Latham                                 4501 I55 North                                      Manager, Co-Founder and               14.1
                                                      Suite 221                                           Board Member
                                                      Jackson, MS 39212
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Steve Rockwell                                 2919 Caves Road                                     Manager, Executive Chairman           0
                                                      Owings Mills, MD 21117

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ron Rosati                                     2011 Florida Ave                                    Manager, Board Member                 2.4
                                                      Dunedin, FL 34698



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 22
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                    Desc Main
                                                          Document     Page 112 of 115
 Debtor      Eat Here Brands LLC                                                                        Case number (if known) 19-61688-wlh




       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Tim Walker                                     1363 Secret Path Drive                              Chief Financial Officer        2014 - December
                                                      Fort Mill, SC 29708                                                                2018

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Abe Ruiz                                       875 Hunterhill Drive                                Chief Operating Officer;       December 2017 -
                                                      Roswell, GA 30075                                   Chief Executive Officer        April 2018 (COO);
                                                                                                                                         April 2018 - May
                                                                                                                                         2019 (CEO)
       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Buster Corley                                  6658 Yosemite Lane                                  Board Member                   September 2012 -
                                                      Dallas, TX 75212                                                                   October 2018


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 23
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                    Desc Main
                                                          Document     Page 113 of 115
 Debtor       Eat Here Brands LLC                                                                       Case number (if known) 19-61688-wlh



               Name and address of recipient                     Amount of money or description and value of             Dates           Reason for
                                                                 property                                                                providing the value
       30.1                                                                                                              8/6/2018
       .                                                                                                                 8/20/2018
                                                                                                                         8/31/2018
                                                                                                                         9/17/2018
                                                                                                                         10/1/2018
                                                                                                                         10/15/2018
                                                                                                                         10/29/2018
                                                                                                                         11/9/2018
                                                                                                                         11/26/2018
                                                                                                                         12/10/2018
                                                                                                                         12/24/2018
                                                                                                                         1/7/2019
                                                                                                                         1/18/2019
                                                                                                                         2/4/2019
                                                                                                                         2/15/2019
                                                                                                                         3/4/2019
                                                                                                                         3/18/2019
                                                                                                                         3/29/2019
                                                                                                                         8/22/2018
                                                                                                                         8/22/2018
                                                                                                                         10/12/2018
                                                                                                                         11/28/2018
                                                                                                                         12/28/2018
                                                                                                                         1/17/2019
                                                                                                                         2/22/2019
                                                                                                                         3/19/2019
                                                                                                                         4/9/2019
               Abe Ruiz                                                                                                  4/17/2019       Compensation
               875 Hunterhill Drive                              $120,231.78 as compensation                             4/29/2019       and expense
               Roswell, GA 30075                                 $22,641.35 as expense reimbursement                     5/13/2019       reimbursement

               Relationship to debtor
               COO CEO


       30.2                                                                                                              2/1/2019
       .                                                                                                                 4/24/2019
                                                                                                                         8/6/2018
                                                                                                                         8/20/2018
                                                                                                                         8/31/2018
                                                                                                                         9/17/2018
                                                                                                                         10/1/2018
                                                                                                                         10/15/2018
                                                                                                                         10/29/2018
                                                                                                                         11/9/2018
               Al Roberts                                                                                                11/26/2018      Compensation
               4501 I55 North, Suite 221                         $1,611.56 as expense reimbursement                      12/10/2018      and expense
               Jackson, MS 39212                                 $40,280.69 as compensation                              12/24/2018      reimbursement

               Relationship to debtor
               Co-Founder, Vice President,
               and Board member




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 24
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
            Case 19-61688-wlh                       Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47                                    Desc Main
                                                          Document     Page 114 of 115
 Debtor       Eat Here Brands LLC                                                                       Case number (if known) 19-61688-wlh



               Name and address of recipient                     Amount of money or description and value of             Dates           Reason for
                                                                 property                                                                providing the value
       30.3                                                                                                              12/12/2018
       .                                                                                                                 4/24/2019
                                                                                                                         8/6/18
                                                                                                                         8/20/18
                                                                                                                         8/31/18
                                                                                                                         9/17/18
                                                                                                                         10/1/18
               Bill Latham                                                                                               10/15/18        Compensation
               4501 I55 North, Suite 221                         $39,887.99 as compensation                              10/29/18        and expense
               Jackson, MS 39212                                 $3,000.00 as expense reimbursement                      11/9/18         reimbursement

               Relationship to debtor
               Co-Founder and Board
               Member


       30.4 Buster Corley
       .    6658 Yosemite Lane                                                                                                           Expense
               Dallas, TX 75215                                  $1,412.61 as expense reimbursement                      11/14/18        reimbursement

               Relationship to debtor
               Board Member


       30.5                                                                                                              1/8/2019
       .                                                                                                                 10/3/2018
                                                                                                                         10/24/2018
                                                                                                                         11/16/2018
                                                                                                                         1/30/2019
               Ron Rosati                                                                                                4/17/2019
               2011 Florida Ave                                                                                          4/24/2019       Expense
               Dunedin, FL 34698                                 $7,036.40                                               5/31/2019       Reimbursement

               Relationship to debtor
               Board Member


       30.6                                                                                                              8/6/2018
       .                                                                                                                 8/20/2018
                                                                                                                         8/31/2018
                                                                                                                         9/17/2018
                                                                                                                         10/1/2018
                                                                                                                         10/15/2018
                                                                                                                         10/29/2018
                                                                                                                         11/9/2018
                                                                                                                         11/26/2018
                                                                                                                         12/10/2018
                                                                                                                         12/24/2018
                                                                                                                         1/7/2019
                                                                                                                         1/18/2019
                                                                                                                         2/4/2019
                                                                                                                         2/15/2019
                                                                                                                         3/4/2019
                                                                                                                         3/18/2019
                                                                                                                         3/29/2019
                                                                                                                         6/11/2019
               Steve Rockwell                                                                                            10/24/2018      Compensation
               2919 Caves Road                                   $3,731.29 as expense reimbursement                      1/30/2019       and expense
               Owings Mills, MD 21117                            $25,460.91 as compensation                              4/24/2019       reimbursement

               Relationship to debtor
               Executive Chairman


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 25
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
Case 19-61688-wlh   Doc 88 Filed 08/30/19 Entered 08/30/19 17:07:47   Desc Main
                          Document     Page 115 of 115
